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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x
In re                                                         :   Chapter 11
                                                              :
25 JAY STREET, LLC,                                           :   Case No. 23-44083 (ESS)
                                                              :
                                             Debtor.          :
                                                              :
------------------------------------------------------------x

          DISCLOSURE STATEMENT TO LENDER’S CHAPTER 11 PLAN OF
                   LIQUIDATION FOR 25 JAY STREET, LLC




THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
    ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THIS
   DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
     COURT. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR
 APPROVAL, BUT HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT.
   THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO
  CHANGE. THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY
 SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.
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                    IMPORTANT INFORMATION FOR YOU TO READ

         This Disclosure Statement is provided pursuant to section 1125 of the Bankruptcy Code
to all of the Debtor’s known creditors, interest holders, and other parties in interest. The purpose
of this Disclosure Statement is to provide such information as will enable a hypothetical,
reasonable investor typical of the holders of Claims or Interests to make an informed judgment in
about the Lender’s Chapter 11 Plan of Liquidation for 25 Jay Street, LLC (the “Plan”).1 A copy
of the Plan is attached to this Disclosure Statement as Exhibit A and is incorporated herein by
reference.

         The Lender believes that the Plan is in the best interests of creditors, maximizes the value
of the Debtor’s Assets, and will result in a greater return to creditors than any other alternative.
As a result, the Lender urges all creditors entitled to vote on the Plan to vote to accept the Plan.
To be counted, your ballot must be completed, executed, and received by 5:00 p.m., prevailing
Eastern Time, on [●], 2024, the deadline established in the Order by the Bankruptcy Court
concerning solicitation of the Plan and Disclosure Statement submitted herewith (the “Voting
Deadline”), unless extended in writing by counsel to the Lender. Ballots must be submitted by
first-class mail or overnight mail to:

                                       Michelle Friedman
                                       Ballard Spahr LLP
                                       919 N. Market Street, 11th Floor
                                       Wilmington, Delaware 19801

ANY BALLOTS SUBMITTED BY FACSIMILE OR ELECTRONIC MAIL WILL BE
NEITHER ACCEPTED NOR COUNTED UNLESS OTHERWISE AGREED, IN
WRITING, BY COUNSEL TO THE LENDER.
                          _______________

       This Disclosure Statement and the exhibits attached hereto are the only documents to be
used in connection with the solicitation of votes on the Plan. No person is authorized by the
Lender in connection with the Plan or the solicitation of acceptances of the Plan to give any
information or to make any representation other than as contained in this Disclosure Statement
and the exhibits attached hereto or incorporated by reference or referred to herein. If given or
made, such information or representation may not be relied upon as having been authorized by
the Lender and should not be relied upon by you in reaching your decision as to how to vote.
Holders of Claims and Interests may wish to consult with counsel before voting on the Plan.




1
 All capitalized terms used in this Disclosure Statement and not otherwise defined herein shall have the
meanings given to them in the Plan.




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ALL CREDITORS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO
READ AND CAREFULLY CONSIDER THIS ENTIRE DISCLOSURE STATEMENT,
INCLUDING THE PLAN ATTACHED AS EXHIBIT A, PRIOR TO VOTING ON IT.

THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTIONS 1125 AND 1129 OF THE BANKRUPTCY CODE, AND BANKRUPTCY
RULES 3016 AND 3017, AND NOT IN ACCORDANCE WITH FEDERAL OR STATE
SECURITIES LAWS OR OTHER APPLICABLE NON-BANKRUPTCY LAW.
PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING,
OR TRANSFERRING CLAIMS AGAINST OR INTERESTS IN THE DEBTOR
SHOULD EVALUATE THE PLAN AND DISCLOSURE STATEMENT IN LIGHT OF
THE PURPOSES FOR WHICH THEY WERE PREPARED. THE PLAN AND THIS
DISCLOSURE STATEMENT SHALL NOT BE CONSTRUED TO BE ADVICE ON THE
TAX, SECURITIES, OR OTHER LEGAL EFFECTS OF THE PLAN AS TO HOLDERS
OF CLAIMS AGAINST OR INTERESTS IN THE DEBTOR.

                              ________________

IRS CIRCULAR 230 NOTICE: TO ENSURE COMPLIANCE WITH IRS CIRCULAR
230, HOLDERS OF CLAIMS AND INTERESTS ARE HEREBY NOTIFIED THAT: (A)
ANY DISCUSSION OF U.S. FEDERAL TAX ISSUES CONTAINED OR REFERRED TO
IN THE PLAN OR THIS DISCLOSURE STATEMENT IS NOT INTENDED OR
WRITTEN TO BE USED, AND CANNOT BE USED, BY HOLDERS OF CLAIMS OR
INTERESTS FOR THE PURPOSE OF AVOIDING PENALTIES THAT MAY BE
IMPOSED ON THEM UNDER THE INTERNAL REVENUE CODE; (B) SUCH
DISCUSSION IS WRITTEN IN CONNECTION WITH THE PROMOTION OR
MARKETING BY DEBTOR OR CHAPTER 11 TRUSTEE OF THE TRANSACTIONS
OR MATTERS ADDRESSED HEREIN; AND (C) HOLDERS OF CLAIMS AND
INTERESTS SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR
CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.

                              ________________

THERE HAS BEEN NO INDEPENDENT AUDIT OF THE FINANCIAL
INFORMATION CONTAINED IN THE PLAN AND THIS DISCLOSURE
STATEMENT.    THE PLAN AND THIS DISCLOSURE STATEMENT WERE
COMPILED FROM INFORMATION ABOUT THE DEBTOR DISCLOSED IN ITS
BANKRUPTCY CASE AND OTHER PUBLICLY AVAILABLE SOURCES. THIS
DISCLOSURE STATEMENT WAS NOT FILED WITH THE SECURITIES AND
EXCHANGE COMMISSION OR ANY STATE AUTHORITY, AND NEITHER THE
SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE AUTHORITY HAS
PASSED UPON THE ACCURACY, ADEQUACY, OR MERITS OF THIS DISCLOSURE
STATEMENT. NEITHER THE PLAN AND DISCLOSURE STATEMENT NOR THE
SOLICITATION OF VOTES TO ACCEPT OR REJECT THE PLAN CONSTITUTES
AN OFFER TO SELL OR THE SOLICITATION OF AN OFFER TO BUY SECURITIES
IN ANY STATE OR JURISDICTION IN WHICH SUCH OFFER OR SOLICITATION IS
NOT AUTHORIZED.


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                                      ________________

ANY PROJECTED RECOVERIES TO CREDITORS SET FORTH IN THIS ARE
BASED UPON THE ANALYSES OF INFORMATION PERFORMED BY THE LENDER
AND ITS ADVISORS.

NOTHING STATED HEREIN SHALL BE DEEMED OR CONSTRUED AS AN
ADMISSION OF ANY FACT OR LIABILITY BY ANY PARTY, OR BE ADMISSIBLE
IN ANY PROCEEDING INVOLVING THE DEBTOR, THE LENDER, OR ANY OTHER
PARTY. THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE
HEREOF, UNLESS ANOTHER TIME IS SPECIFIED.

                                      ________________

THE LENDER BELIEVES THAT THE TREATMENT OF CREDITORS UNDER THE
PLAN PROVIDES A GREATER RECOVERY THAN THAT LIKELY TO BE
ACHIEVED UNDER OTHER ALTERNATIVES FOR THE DEBTOR, INCLUDING A
DISMISSAL OF THE DEBTOR’S CHAPTER 11 CASE OR GRANTING LENDER
RELIEF FROM STAY, AND SUBSEQUENT FORECLOSURE ON THE DEBTOR’S
ASSETS UNDER STATE LAW. ACCORDINGLY, THE LENDER RECOMMENDS
THAT CREDITORS SUPPORT AND VOTE TO ACCEPT THE PLAN.

                                      ________________

        This Disclosure Statement contains forward-looking statements with respect to the Plan.
Forward-looking statements discuss matters that are not historical facts. Because they discuss
future events or conditions, forward-looking statements often include words such as “anticipate,”
“believe,” “estimate,” “expect,” “intend,” “plan,” “project,” “target,” “can,” “could,” “may,”
“should,” “will,” “would” or similar expressions. Forward-looking statements should not be
unduly relied upon. They indicate the Lender’s expectations about the future and are not
guarantees. Forward-looking statements speak only as of the date they are made and the Lender
has no obligation to update them to reflect changes that occur after the date they are made.
There are several factors which could cause results to differ significantly from expectations.




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                                            ARTICLE I

                                        INTRODUCTION

       The Lender submits this Disclosure Statement pursuant to section 1125 of the Bankruptcy
Code and Bankruptcy Rule 3016, in connection with the solicitation of votes on the Plan. A
copy of the Plan is attached as Exhibit A to this Disclosure Statement.

        This Disclosure Statement sets forth certain information regarding the Debtor’s history,
operations, the Property, the Assets, significant events that led to the Chapter 11 Case, events
that occurred during the Chapter 11 Case, and the liquidation and wind-down of the Debtor’s
affairs proposed by the Plan. This description is based upon filings made by the Debtor in the
Chapter 11 Case, documents produced by the Debtor to Lender, and other information available
from public sources. While every effort has been made to insure the accuracy of the information
relied upon in preparing this Disclosure Statement, because the Lender was required to rely upon
third party sources for the information, the Lender cannot guarantee the accuracy of all
information contained herein.

       This Disclosure Statement also describes the terms and provisions of the Plan, including
the proposed treatment of Claims and Interests under the Plan.

                                            ARTICLE II

                                   SUMMARY OF THE PLAN

      The purpose of the Plan is to maximize the value of the Debtor’s Assets and thereby
maximize distributions to Holders of Allowed Claims.

        The Debtor’s sole business is to own and operate a five-story mixed-use property
consisting of approximately 35 residential units and 5 retail units located at 25 Jay Street,
Brooklyn, New York 11201. All of the Debtor’s Assets (including the Property and the Debtor’s
Cash) are encumbered by a first priority Lien held by Lender. As of the Petition Date, the
aggregate amount of the Allowed Secured Claim of the First Lien Lender was approximately
$26,451,886.44. The Chapter 11 Case is a single asset real estate case within the meaning of
section 101(51B) of the Bankruptcy Code. The Debtor has Cash on hand in the amount of
$239,198.97 as of September 30, 2024. All of the Debtor’s Cash on hand is subject to the first
priority Liens of the Lender and constitutes the Lender’s Cash Collateral.

        Through this Plan, the Lender proposes the appointment of a Plan Trustee to (a) conduct
a process to sell the Property to either the Lender, if a credit bid submitted by the Lender is the
highest offer for the Property, or to a third party if a third party submits the highest and best offer
for the Property, (b) investigate and pursue potential causes of action against the Debtor’s
insiders and affiliates, and (c) distribute funds to creditors, in accordance with the order of
priority of their Claims.




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                                                                              Estimated        Estimated
                                                                   Entitled
Class        Description          Treatment                                   Amount of        Percentage
                                                                   to Vote
                                                                              Allowed Claims   Recovery
Not          Administrative       Unimpaired; payment in           No         $150,000.00      100%
Classified   Claims and           full, in Cash, of the allowed
             Professional Fee     amount of such claim (or as
             Claims               otherwise agreed)


Not          Priority Tax         Unimpaired; payment in           No         $12,303.38       100%
Classified   Claims               full, in Cash, to the extent
                                  and in the manner allowed
                                  by section 1129 of the
                                  Bankruptcy Code (or as
                                  otherwise agreed)
1            Allowed Secured      Impaired; the Plan Trustee       Yes        $26,451,886.44   75-95%
             Claim of the First   will transfer the Property
             Lien Lender          and all related Assets to the
                                  Lender, in exchange for a
                                  credit bid, or all cash
                                  proceeds from a sale of the
                                  Property. Lender will also
                                  receive all Cash remaining
                                  after payment of amounts
                                  necessary to make
                                  Distributions under the Plan
2            SBA Claim            If the Lender’s credit bid is    Yes        $1,752,733.11    1%
                                  not the highest and best
                                  offer for the Property and
                                  proceeds from the Sale
                                  remain after payment of the
                                  Allowed Secured Claim of
                                  Lender in full, the SBA
                                  shall receive the value of its
                                  second lien on the Debtor’s
                                  tangible personal property
                                  from the proceeds of the
                                  Sale remaining after
                                  payment of the Allowed
                                  Secured Claim of Lender in
                                  full. If the Property is sold
                                  to the Lender as a result of a
                                  credit bid or there are no
                                  Sale Proceeds remaining
                                  after payment of the
                                  Allowed Secured Claim of
                                  Lender, the SBA Claim will
                                  be treated as a Class 4
                                  General Unsecured Claim.
3            Other Secured        Impaired; payment of a Pro       Yes        $21,275.32       100%
             Claims               Rata share of the Carve-Out




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                                                                                Estimated        Estimated
                                                                     Entitled
    Class         Description        Treatment                                  Amount of        Percentage
                                                                     to Vote
                                                                                Allowed Claims   Recovery
    4             General            Impaired; payment of Pro        Yes        $1,796,863.942   1-10%
                  Unsecured Claims   Rata share to Creditors
                                     other than the Lender of
                                     Carve-Out remaining after
                                     payment of Class 2 Claims
                                     in full, plus payment to
                                     Creditors, including the
                                     Lender, of a Pro Rata share
                                     of any recoveries on
                                     account of any Causes of
                                     Action
    5             Interests          Impaired; Holders of            No         N/A              0%
                                     Interests in Class 4 shall
                                     receive no distribution on
                                     account of such Interests; on
                                     the Effective Date, all
                                     Interests in Class 4 shall be
                                     deemed cancelled, null and
                                     void, and of no force and
                                     effect


     ALTHOUGH THE LENDER BELIEVES THAT ITS ESTIMATION OF CLAIMS AND
RECOVERIES IS REASONABLE, THERE IS NO ASSURANCE THAT THE ACTUAL
AMOUNT OF ALLOWED CLAIMS IN EACH CLASS WILL NOT EXCEED THE
ESTIMATED AGGREGATE AMOUNTS SHOWN HEREIN.


                                                  ARTICLE III

        BACKGROUND ABOUT EVENTS PRECEDING THE BANKRUPTCY CASE AND
                 TRANSPIRING DURING THE BANKRUTPCY CASE


             A.      The Debtor’s Business and Commencement of the Chapter 11 Case

        On November 7, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for
relief under chapter 11 of the Bankruptcy Code, commencing the Chapter 11 Case. The Debtor
continues to operate its business and manage its property as a debtor-in-possession pursuant to
11 U.S.C. §§ 1107(a) and 1108. No trustee, examiner, or statutory committee has been
appointed.


2
 The Lender’s General Unsecured Claim is unknown at this time and will be determined based
on the result of the Sale process.



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        The Debtor’s sole business is to own and operate a five-story mixed-use property
consisting of approximately 35 residential units and 5 retail units located at 25 Jay Street,
Brooklyn, New York 11201 (as more specifically described in the Mortgage, as hereinafter
defined, the “Property”). The Chapter 11 Case is a “single asset real estate” within the meaning
of Section 101(51B) of the Bankruptcy Code, as the Debtor acknowledged by checking the
applicable box in its voluntary petition commencing this case. The Debtor scheduled the
Property as having an unknown value.

       The Debtor filed Schedules with the Bankruptcy Court that detailed certain assets owned
by the Debtor. In addition to the Property, the Debtor’s assets include Cash on hand and other
personal property used in operations of the Property, and potential Litigation Claims to avoid and
recover prepetition transfers.

        As of September 30, 2024, the Debtor reported Cash on hand in the amount of
$239,198.97, all of which constitutes the Lender’s Cash Collateral and is subject to the Lender’s
perfected first-priority Liens.

       B.      The Debtor’s Indebtedness to the Lender

        The Lender holds valid and enforceable claims against the Debtor pursuant to, inter alia,
the following: (a) a Loan Agreement dated January 29, 2020 (the “Loan Agreement”), by and
between Citi Real Estate Funding Inc. (the “Original Lender”) and the Debtor pursuant to which
the Original Lender loaned the original principal amount of $18,500,000.00 to the Debtor (the
“Loan”); (b) a Consolidated, Amended, Restated, and Consolidated Promissory Note dated
January 29, 2020, in the principal amount of $18,500,000.00 and payable to Lender and its
successors and assigns (the “Note”), which was subsequently assigned by Original Lender to
Lender pursuant to that certain Allonge effective March 24, 2020 by Original Lender to Lender
(the “Allonge”); (c) a Consolidated, Amended and Restated Mortgage and Security Agreement
dated as of January 29, 2020 (the “Mortgage”), which was recorded with the Office of the City
Register of the City of New York (the “Recorder”) on February 7, 2020, as Instrument No.
CRFN 2020000051005; (d) an Assignment of Leases and Rents dated January 29, 2020, which
was recorded with the Recorder on February 7, 2020, as Instrument No. CRFN 2020000051006
(the “ALR”); (e) a UCC-1 Financing Statement with Debtor as debtor and Original Lender as
secured party, recorded with the Recorder on February 14, 2020, as Instrument No. CRFN
2020000060290 (the “Original City Financing Statement”), and together with a UCC-3
Financing Statement assigning the Original City Financing Statement to Lender recorded with
the Recorder on February 27, 2020, as Instrument No. CRFN 2020000179895, the collectively,
the “City Financing Statement”); and (f) a UCC-1 Financing Statement filed with the New York
Secretary of State on February 12, 2020, as financing statement number 202002120097551 (the
“Original State Financing Statement”), and together with a UCC-3 Financing Statement
assigning the Original State Financing Statement to Lender filed with the New York Secretary of
State as financing statement number 202006238266218, the “State Financing Statement”).

       The Loan was securitized and validly assigned by Original Lender to Lender pursuant to
the Allonge, a General Assignment effective March 24, 2020 by Original Lender to Lender (the
“General Assignment”), an Assignment of Mortgage by Original Lender to Lender dated March



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29, 2020 but effective as of March 24, 2020, which was recorded with the Recorder on June 23,
2020, as Instrument No. CRFN 2020000179893 (the “Assignment of Mortgage”), and an
Assignment of Assignment of Leases and Rents by Original Lender to Lender dated March 29,
2020 but effective as of March 24, 2020, which was recorded with the Recorder on June 23,
2020, as Instrument No. CRFN 2020000179894 (the “Assignment of ALR”).

        The Loan Agreement, Note, Allonge, Mortgage, ALR, General Assignment, Assignment
of Mortgage, Assignment of ALR, City Financing Statement and State Financing Statement
together with all other documents evidencing the indebtedness of the Debtor to Lender are
collectively referred to as the “Loan Documents.”

         Pursuant to the Loan Documents, the Lender holds a valid, enforceable, and unavoidable
first-priority interest in and Lien against, inter alia, all of the Debtor’s Assets, including, without
limitation, all Cash, the Property, all leases of the Property, all rent, revenue, or profits generated
from the operation and lease of the Property, certain related personal property, and the proceeds
of all of the foregoing (as more particularly described in the Loan Documents, the “Collateral”).

        As of the Petition Date, the Debtor owed the amount of at least $26,451,886.44 to
Lender. On April 15, 2024, the Lender timely filed a proof of claim [Claim No. 6] in the
Chapter 11 Case. Interest has continued to accrue, and the Lender continues to incur attorneys’
fees, expenses, and other expenses.

       C.      The Lender’s Foreclosure Action

        The Debtor defaulted prior to the Petition Date by failing to make debt service payments
to the Lender and granting the Small Business Administration a second lien against the Property
to secure a loan obtained by the Debtor. Beginning no later than the monthly payment due for
June 2021, and as early as the monthly payment date for April 2020, the Debtor failed on
multiple occasions to pay the monthly debt service payments or to make the required deposits
into accounts required under the Loan Documents. The Debtor also received $200,000 from a
tenant that had commenced a bankruptcy case, and the Debtor was obligated under the Loan
Documents to deposit that recovery into a specified account subject to the Lender’s Liens. The
Debtor failed to deposit the $200,000 it recovered into the specified account. The Lender
provided multiple default notices to the Debtor beginning on May 1, 2020. On December 28,
2022, the Lender accelerated the Loan.

       The Lender subsequently commenced a foreclosure action with respect to the Property in
the United States District Court for the Eastern District of New York (the “District Court”), Civil
Action No. 23-cv-1211 (the “Foreclosure Action”).

       D.      The Debtor’s Prepetition Transfers to Insiders and Affiliates and the
               Lender’s Motion to Appoint a Chapter 11 Trustee

       The Debtor transferred an aggregate amount in excess of $1.4 million to JT Capital
Investors LLC (“JT Capital”), JES Management, and Alfie Hospitality during the period from
February 1, 2022 through Petition Date. Upon information and belief, JT Capital, JES



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Management, and Alfie Hospitality are insiders or affiliates of the Debtor through common
ownership by the Debtor’s members, Joseph Torres, Sr. and Joseph Torres, Jr. The Debtor’s last
transfer to JT Capital, in the amount of $90,000.00, was made on the Petition Date. In addition,
the Debtor transferred in excess of $100,000.00 to Kip Jacobs in October 2023, who is, upon
information and belief, an artist by trade and friend of Joseph Torres, Jr. These transfers may be
avoidable as fraudulent transfers.

        The funds transferred by the Debtor were largely the proceeds of loan that the Debtor
obtained from the United States Small Business Administration (“SBA”) under a COVID relief
related program. The Debtor received proceeds in the amount of $1,487,013.00 on February 9,
2022, from the SBA and deposited the proceeds in its operating account, which was then held at
Signature Bank. The Debtor made the transfers while failing to make the monthly debt service
payments to the Lender.

       Based on these substantial transfers, on March 29, 2024, the Lender filed a motion
seeking the appointment of a chapter 11 trustee. Thereafter, the Lender and the Debtor agreed to
mediation, which is ongoing, and the motion seeking the appointment of a chapter 11 trustee has
been continued several times.

      The Lender and the Debtor have also entered into a series of orders governing the use of
Cash Collateral.

                                         ARTICLE IV

                                           THE PLAN

A.     General

     THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN OF THE SUBSTANTIVE
PROVISIONS OF THE PLAN, AND IS NOT, NOR IS IT INTENDED TO BE, A COMPLETE
DESCRIPTION OR A SUBSTITUTE FOR A FULL AND COMPLETE REVIEW OF THE
PLAN. THE LENDER ENCOURAGES ALL HOLDERS OF CLAIMS AND INTERESTS TO
READ AND STUDY CAREFULLY THE PLAN, A COPY OF WHICH IS ATTACHED
HERETO AS EXHIBIT A.

        Section 1123 of the Bankruptcy Code provides that, except for Administrative Claims
and Priority Tax Claims, a plan of liquidation must categorize claims against and interests in the
debtor into individual classes. Although the Bankruptcy Code gives a plan proponent
significant flexibility in classifying claims and interests, section 1122 of the Bankruptcy Code
dictates that a plan of liquidation may only place a claim or an interest into a class containing
claims or interests that are substantially similar.

       The Plan creates five Classes of Claims and one Class of Interests. These Classes take
into account the differing nature and priority of Claims against and Interests in the Debtor.
Administrative Claims, Professional Fee Claims, and Priority Tax Claims are not classified for
purposes of voting or receiving Distributions under the Plan (as is permitted by section
1123(a)(1) of the Bankruptcy Code), but are treated separately as unclassified Claims.


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       The Plan provides specific treatment for each Class of Claims and Interests. Only
Holders of Claims that are Impaired under the Plan, and who will receive Distributions under the
Plan are entitled to vote on the Plan.

        Unless otherwise provided in the Plan or the Confirmation Order, the treatment of any
Claim or Interest under the Plan will be in full satisfaction, settlement, release and discharge of,
and in exchange for, such claim or Interest.

       The following discussion sets forth the classification and treatment of all Claims against,
or Equity in, the Debtor.

B.     Classification and Treatment of Claims and Interests

        If the Plan is confirmed by the Bankruptcy Court, (a) each Allowed Claim in a particular
Class will receive the same treatment as the other Allowed Claims in such Class, whether or not
the Holder of such Claim voted to accept the Plan, and (b) each Allowed Interest in a particular
Class will receive the same treatment as the other Allowed Interests in such Class. Such
treatment will be in exchange for and in full satisfaction, release, and discharge of, the Holder’s
respective Claims against or Interests in the Debtor, except as otherwise provided in the Plan.
Moreover, upon Confirmation, the Plan will be binding on (a) all Holders of a Claim regardless
of whether such Holders voted to accept the Plan, and (b) all Holders of an Interest.

       1.      Unclassified Claims

               a.      Administrative Claims (Other Than Professional Fee Claims)

        Except to the extent the Holder of an Allowed Administrative Claim agrees otherwise,
each Holder of an Allowed Administrative Claim shall be paid in respect of such Allowed Claim
the full amount thereof, without interest, in Cash, as soon as practicable after the later of (i) the
Effective Date or (ii) the date on which such Claim becomes an Allowed Claim. Except as
provided below for Professionals requesting compensation or reimbursement for Professional
Fee Claims, requests for payment of Administrative Claims must be filed no later than thirty
days after notice of the Effective Date. Holders of Administrative Claims who are required to
file a request for payment of such Claims and who do not file such requests by the
Administrative Claims Bar Date, shall be forever barred from asserting such Claims against the
Debtor or its property, and the holder thereof shall be enjoined from commencing or continuing
any action, employment of process, or act to collect, offset, or recover such Administrative
Claim.

       All Professionals or other Persons requesting compensation or reimbursement of
Professional Fee Claims for services rendered before the Effective Date (including compensation
requested by any Professional or other entity for making a substantial contribution in the Chapter
11 Case) shall file an application for final allowance of compensation and reimbursement of
expenses no later than the Fee Claim Deadline. Objections to applications of Professionals or
other entities for compensation or reimbursement of expenses must be filed no later than twenty-
one (21) days after any such application is filed.




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               b.      U.S. Trustee Fees
       The Debtor shall pay all applicable U.S. Trustee Fees, in accordance with the terms of the
Plan, until such time as the Bankruptcy Court enters an order (a) dismissing the Chapter 11 Case,
(b) converting the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, or (c)
approving a final decree closing the Chapter 11 Case.

               c.      Priority Tax Claims

       Each Priority Tax Claims, if any, shall be paid in full, in Cash, upon the Effective Date or
allowance of such Claim, whichever is later.

       2.      Class 1 - Allowed Secured Claim of Lender

         The Lender or its designee shall be entitled to credit bid in connection with the sale to be
conducted by the Plan Trustee in accordance with section 363(k) of the Bankruptcy Code up to
the Allowed Amount of the Allowed Secured Claim of Lender. If the Lender’s credit bid is the
highest offer for the Property, the Trustee shall Transfer the Property to the Lender free and clear
of all Liens, Claims, Encumbrances, and Interests, in exchange for the credit bid and, in addition
to the transfer of the Property, within 90 days after the Effective Date, the Plan Trustee shall also
distribute to the Lender any Cash remaining after payment of the Debtor’s portion of any unpaid
real property taxes against the Property as of the closing on the transfer of the Property to the
Lender, Allowed Administrative Claims, Allowed Professional Claims, Allowed Priority Tax-
Claims, and the Carve-Out, and the Lender shall have an Allowed Class 4 Unsecured Claim in
the amount of the difference between (i) the Allowed Amount of the Allowed Secured Claim of
Lender and (ii) the amount of the Lender’s credit bid and the amount of the Cash Collateral
distributed to the Lender by the Trustee, which deficiency Claim shall be treated as an Allowed
Class 4 General Unsecured Claim and survive entry of the Confirmation Order and the
occurrence of the Effective Date.

        If the Lender’s credit bid is not the highest offer for the Property, the Trustee shall
Transfer the Property to the third-party purchaser free and clear of all Liens, Claims,
Encumbrances, and Interests, in exchange for the cash payment and, within 90 days after the
Effective Date, the Plan Trustee shall also distribute to the Lender any Cash remaining after
payment of the Debtor’s portion of any unpaid real property taxes against the Property as of the
closing on the transfer of the Property to the Lender, Allowed Administrative Claims, Allowed
Professional Claims, Allowed Priority Tax-Claims, and the Carve-Out, and the Lender shall have
an Allowed Class 4 Unsecured Claim in the amount of the difference between (i) the Allowed
Amount of the Allowed Secured Claim of Lender and (ii) the amount of Cash the Lender
receives from the transfer of the Property to a third-party purchaser and the amount of the Cash
Collateral distributed to the Lender by the Trustee, which deficiency Claim shall be treated as an
Allowed Class 4 General Unsecured Claim and survive entry of the Confirmation Order and the
occurrence of the Effective Date.

       The Lender’s first-priority Liens against the Property, Cash Collateral, Tenant Leases, all
of the Debtor’s personal property, rent paid under Tenant Leases, all other Collateral, and the
proceeds thereof shall survive entry of the Confirmation Order and shall remain attached as first-


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priority Liens to the Property, the Cash, Tenant Leases, rent paid under Tenant Leases, all other
Collateral, and all replacements and proceeds thereof and, without limiting the foregoing, shall
attach to the proceeds of any sale of the Property to a third-party purchaser.

       Class 1 is Impaired, and the Lender is entitled to vote to accept or reject the Plan.

       3.      Class 2 – SBA Claim

       Class 2 consists of the SBA Claim in the amount of approximately $1,752,733.11.

        If the Lender’s credit bid is not the highest and best offer for the Property and proceeds
from the Sale remain after payment of the Allowed Secured Claim of Lender in full, the SBA
shall receive the value of its second lien on the Debtor’s tangible personal property from the
proceeds of the Sale remaining after payment of the Allowed Secured Claim of Lender in full. If
the Property is sold to the Lender as a result of a credit bid or there are no Sale Proceeds
remaining after payment of the Allowed Secured Claim of Lender, the SBA Claim will be treated
as a Class 4 General Unsecured Claim.

       Class 2 is Impaired, and the SBA is entitled to vote to accept or reject the Plan.

       4.      Class 3 Other Secured Claims

        Other Secured Claims consist of any Claim (other than the Allowed Secured Claim of
Lender) secured by a lien on any Asset of the Debtor, or right of setoff, which Lien or right of
setoff, as the case may be, is valid, perfected and enforceable under applicable law and is not
subject to avoidance under the Bankruptcy Code or applicable nonbankruptcy law, but only to
the extent of the value, pursuant to section 506(a) of the Bankruptcy Code, of any interest of the
holder of the Claim in property of the Estate securing such Claim.

        Holders of Allowed Class 3 Other Secured Claims, if any, shall receive a Pro Rata share
of the Carve-Out, on the later of the Effective Date or the date on which such General Unsecured
Claim becomes an Allowed Claim.

       Holders of Allowed Claims in Class 3 are Impaired under the Plan. Each holder of a
Class 2 Other Allowed Secured Claim is entitled to vote to accept or reject the Plan in its
capacity as a holder of such Claim.

       5.      Class 4 - General Unsecured Claims.
         Class 4 consists of the General Unsecured Claims against the Debtor. Holders of Claims
in Class 4 are Impaired. Each holder of General Unsecured Claim is entitled to vote to accept or
reject the Plan in its capacity as a holder of such Claim.

        Holders of Allowed Class 4 General Unsecured Claims, other than the Lender, shall
receive a Pro Rata share of the Carve-Out remaining after payment of Class 3 Claims in full, on
the later of the Effective Date or the date on which such General Unsecured Claim becomes an
Allowed Claim. In addition, Holders of Allowed Class 4 General Unsecured Claims, including


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the Lender, shall receive a Pro Rata share of any recoveries made on account of any Causes of
Action.

       5.      Class 5 – Interests
        Class 5 consist of all Interests in the Debtor. Class 5 Interests are Impaired. The holders
of Class 5 Interests will receive no Distribution. On the Effective Date, all Class 5 Interests will
be canceled, null and void and of no force and effect. The holders of Class 5 Interests are deemed
to reject the Plan and are not entitled to vote to accept or reject the Plan.

       C.      Reservation of Rights Regarding Claims

       Except as otherwise explicitly provided in the Plan, nothing shall affect, as applicable, the
Debtor’s rights, objections, defenses, and counterclaims, both legal and equitable, with respect to
any Claims, including, but not limited to, all rights of setoff or recoupment.

       D.      Treatment of Executory Contracts and Unexpired Leases

        On the Effective Date, the Tenant Leases other than the lease to Kip Jacobs shall be
deemed assumed with a cure of $0 in accordance with the provisions of sections 365 and 1123 of
the Bankruptcy Code. All executory contracts and unexpired leases other than those Tenant
Leases assumed under this Plan and not previously assumed, assumed and assigned, or rejected
as of the Confirmation Date, but subject to the occurrence of the Effective Date, shall be deemed
rejected pursuant to the provisions of section 365 of the Bankruptcy Code. For clarity, the lease
to Kip Jacobs shall be rejected as of the Effective Date. The Plan shall constitute a motion to
assume the Tenant Leases (other than the lease to Kip Jacobs) with a cure of $0.

        If rejection, pursuant to the Plan, of an executory contract or unexpired lease, results in a
Claim, then such Claim shall be forever barred and shall not be enforceable against the Debtor,
its Estate, or the Plan Trustee unless a proof of claim is filed with the Clerk of the Bankruptcy
Court and served upon the Debtor and the Plan Trustee not later than thirty (30) days after the
date of service of notice of entry of the Confirmation Order, or such other period set by the
Bankruptcy Court. Any Claim arising from the rejection of an executory contract or unexpired
lease shall be treated as a Class 3 General Unsecured Claim.

        The entry by the Bankruptcy Court on or after the Confirmation Date of an order
authorizing the rejection of an executory contract or unexpired lease of the Debtor entered into
prior to the Petition Date shall result in such rejection being a prepetition breach under sections
365(g) and 502(g) of the Bankruptcy Code.

E.     Conditions Precedent to Confirmation and the Effective Date of the Plan

       1.      Conditions to Confirmation


       The following are conditions precedent to Confirmation that must be satisfied or waived:



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               (a)    The Bankruptcy Court shall have approved the Disclosure Statement, in a
                      manner acceptable to the Lender, as containing adequate information with
                      respect to the Plan within the meaning of section 1125 of the Bankruptcy
                      Code.

               (b)    The proposed Confirmation Order shall be in form and substance
                      reasonably acceptable to the Lender.

               (c)    The Plan and all of the schedules, documents, and exhibits contained
                      therein shall be filed with the Bankruptcy Court in form and substance
                      reasonably acceptable to the Lender.

       2.      Conditions to Occurrence of the Effective Date

        The following are conditions precedent to the occurrence of the Effective Date that must
be satisfied or waived:

               (a)    The Confirmation Order shall be a Final Order.

               (b)    No request for revocation of the Confirmation Order under section 1144 of
                      the Bankruptcy Code has been made, or, if made, remains pending.

               (c)    The appointment of the Plan Trustee shall have been confirmed by order
                      of the Bankruptcy Court, which may be a term included in the
                      Confirmation Order.

       3.      Waiver of Conditions Precedent

       Notwithstanding the foregoing, but subject to section 1127 of the Bankruptcy Code, the
Lender reserves the right to waive the occurrence of any condition precedent to the Effective
Date or to modify any of the foregoing conditions precedent. Any such written waiver of a
condition precedent set forth in this Article may be effected at any time, without notice, without
leave or order of the Bankruptcy Court, and without any formal action other than proceeding to
consummate the Plan. Any actions required to be taken on the Effective Date shall take place
and shall be deemed to have occurred simultaneously, and no such action shall be deemed to
have occurred before the taking of any other such action.

       4.      Consequence of Non-Occurrence of Effective Date

        If the Effective Date has not occurred by January 31, 2025, then upon motion by any
party in interest and upon notice to such parties in interest as the Bankruptcy Court may direct,
the Confirmation Order may be vacated by the Bankruptcy Court; provided, however, that
notwithstanding the Filing of such motion, the Confirmation Order shall not be vacated if each of
the conditions to the Effective Date is either satisfied or duly waived before any Order granting
such relief becomes a Final Order. If the Confirmation Order is vacated pursuant to this Section,
this Plan shall be deemed null and void in all respects and nothing contained herein shall
constitute a waiver or release of any Claims by or against the Debtor.



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       5.      Substantial Consummation

        Substantial consummation of the Plan, as defined in section 1101(2) of the Bankruptcy
Code, shall not be deemed to have occurred until and until all Administrative Claims and Priority
Tax Claims have been paid in full or, to the extent not paid in full, funds sufficient to satisfy such
Claims have been placed in a segregated reserve, and the Acquired Assets shall have been
transferred to the Lender or its designee in exchange for a Credit Bid or sold to a third-party.

       F.      Realty Transfer Tax

        Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer, or exchange
of any securities, instruments, or documents, (b) the creation of any Lien, mortgage, deed of
trust, or other security interest, (c) the making or assignment of any lease or sublease or the
making or delivery of any deed or other instrument of transfer under, pursuant to, in furtherance
of, or in connection with the Plan, including, without limitation, any deeds, bills of sale, or
assignments executed in connection with any of the transactions contemplated under the Plan or
the transfer or sale of any real or personal property of the Estate or the Debtor pursuant to, in
implementation of, or as contemplated in the Plan, and (d) the issuance, renewal, modification,
or securing of indebtedness by such means, and the making, delivery, or recording of any deed or
other instrument of transfer under, in furtherance of, or in connection with, the Plan, including,
without limitation, the Confirmation Order, shall not be subject to any document recording tax,
stamp tax, conveyance fee, or other similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, or other similar tax or governmental assessment. Consistent with the foregoing,
and in accordance with the Plan, each recorder of deeds or similar official for any county, city, or
governmental unit in which any instrument hereunder is to be recorded shall, pursuant to the
Confirmation Order, be ordered and directed to accept such instrument, including, without
limitation any deed or other instrument transferring the Acquired Assets in accordance with the
terms of the Plan, without requiring the payment of any filing fees, documentary stamp tax, deed
stamps, stamp tax, transfer tax, intangible tax, or similar tax.

       G.      Exculpation

       No Exculpated Party shall have any liability to the Debtor or any holder of a Claim
for any act or omission arising on or after the Petition Date through the Effective Date in
connection with, related to, or arising out of the Chapter 11 Case, the Plan, the Disclosure
Statement, pursuit of approval of the Disclosure Statement, solicitation of votes in favor of
the Plan, pursuit of confirmation of the Plan, or the property distributed or otherwise deal
with under the Plan except for any act or omission found by a Final Order to constitute a
crime, actual fraud, willful misconduct, or gross negligence.

       H.      Retention of Jurisdiction by the Bankruptcy Code

       The Plan shall not in any way limit the Bankruptcy Court’s post-confirmation jurisdiction
as provided under the Bankruptcy Code. Notwithstanding confirmation of the Plan or
occurrence of the Effective Date, pursuant to sections 105(a) and 1142 of the Bankruptcy Code,
the Bankruptcy Court shall retain exclusive jurisdiction and authority for all purposes to the




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fullest extent permitted under applicable law, including, without limitation, the following
purposes:

       (a)    To determine any motion, adversary proceeding, Avoidance Action, application,
contested matter, or other litigated matter pending on or commenced after the Confirmation
Date;

       (b)     To hear and determine applications for the assumption or rejection of executory
contracts or unexpired leases and the allowance of Claims resulting therefrom;

       (c)    To ensure that Distributions to holders of Allowed Claims are accomplished as
provided herein;

        (d)     To hear and determine objections to the allowance of Claims (other than
objections to the Allowed Secured Claim of Lender, which are waived and released under the
Plan), whether filed, asserted, or made before or after the Effective Date, including, without
limitation, to hear and determine objections to the classification of Claims and the allowance or
disallowance of Disputed Claims, in whole or in part;

       (e)    To hear and determine all applications for allowance of compensation and
reimbursement by professionals under the Plan or under sections 328, 330, 331, 503(b), 1103,
and 1129(a)(4) of the Bankruptcy Court;

         (f)   To hear and determine all motions requesting allowance of an Administrative
Claim;

        (g)     To determine requests for the payment of Claims entitled to priority under section
507(a)(2) of the Bankruptcy Code, including compensation and reimbursement of expenses of
parties entitled thereto;

        (h)     To hear and determine objections to Claims, all Causes of Action, Avoidance
Actions, and other suit and adversary proceedings to recover assets of the Debtor and property of
the Estate, wherever located, and to adjudicate any other Causes of Action, Avoidance Actions,
suits, adversary proceedings, motions, applications and contested matters that may be
commenced or maintained pursuant to the Chapter 11 Case or the Plan, proceedings to adjudicate
the allowance of Disputed Claims, proceedings to subordinate Claims, and all controversies and
issues arising from or relating to any of the foregoing;

       (i)    to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

        (j)   To take any action and issue such orders as may be necessary to construe, enforce,
implement, execute, modify and consummate the Plan, including any release, exculpation or
injunction provisions set forth herein, or to maintain the integrity of the Plan following
consummation;




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       (k)     To hear any other matter not inconsistent with the Bankruptcy Code;

       (l)     To enter the Final Decree closing the Chapter 11 Case;

       (m)     To enforce all orders previously entered by the Bankruptcy Court;

       (n)     to enter and implement such orders as may be appropriate if the Confirmation
Order is for any reason stayed, revoked, modified and/or vacated; and

       (o)     to issue orders in aid of execution, implementation or consummation of the Plan.


                                          ARTICLE V

                     MEANS OF IMPLEMENTATION OF THE PLAN

      A.      Funding of the Plan

       The Plan shall be funded from the Cash Collateral, the Carve-Out, and any recoveries
made on account of Causes of Action. The Acquired Assets shall be sold under the Plan to the
Lender in exchange for the Credit Bid. This Plan shall constitute a motion seeking to sell the
Acquired Assets free and clear of all liens, claims, encumbrances, and interests.

       B.      Powers and Obligations of the Plan Trustee

        On the Confirmation Date, the person or entity proposed by the Lender to serve in such
capacity through the Plan Supplement (the “Plan Trustee”) shall be appointed as the Plan Trustee
to implement and effectuate the Plan. On the Confirmation Date, the person or entity proposed
by the Lender to serve in such capacity through the Plan Supplement (the “Plan Trustee”) shall
be appointed as the Plan Trustee to implement and effectuate the Plan. The Plan Trustee shall be
responsible for implementing the Plan, effectuating a sale of the Property, resolving all Claims
other than the Allowed Claim of Lender, commencing and prosecuting Causes of Action, and
making distributions pursuant to the Plan. The Plan Trustee shall retain all rights with respect to
the Assets necessary to implement the Plan and protect, conserve, and liquidate all Assets,
including, without limitation, control over (including the right to waive) all attorney-client
privileges, work-product privileges, accountant-client privileges, and any other evidentiary
privileges relating to the Assets that, before the Effective Date, belonged to the Debtor under
applicable law. The Plan Trustee shall be compensated at its standard hourly rates, as such may
be adjusted from time to time, subject to the cap imposed by the Bankruptcy Code and the
approval of the Bankruptcy Court. The Plan Trustee shall serve without bond, but subject to
supervision and control of the Bankruptcy Court. The Plan Trustee shall be deemed the Debtor’s
estate Representative in accordance with section 1123 of the Bankruptcy Code, and shall have all
the powers, authority and responsibilities of a trustee specified in sections 704 and 1106 of the
Bankruptcy Code, subject to the terms, requirements, and mandates of the Plan. Without
limiting the foregoing, the powers and duties of the Plan Trustee shall include all of the
following:



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              1.      to make Distributions in accordance with the provisions of the Plan;

              2.     to engage attorneys, accountants, consultants, agents, brokers, and other
              professionals to assist the Trustee with respect to the Trustee’s responsibilities
              under the Plan, subject to the approval of the Bankruptcy Court;

              3.      to pay the fees and expenses for the attorneys, consultants, agents, and
              other professionals engaged by the Trustee, and to pay all other expenses in
              connection with administering the Plan, subject to the approval of the Bankruptcy
              Court;

              4.    to object to Claims, seek to subordinate Claims, and, subject to
              Bankruptcy Court approval of any proposed settlement after notice and a hearing,
              compromise or settle any objections to Claims;

              5.     to commence litigation and otherwise prosecute Causes of Action and any
              appeals therefrom and, subject to Bankruptcy Court approval of any proposed
              settlement after notice and a hearing, compromise or settle any Causes of Action;

              6.    to establish and maintain such bank accounts as the Plan Trustee may
              deem advisable on behalf of the Debtor;

              7.      to file a motion with the Bankruptcy Court seeking to establish bid
              procedures and to sell the Assets free and clear of all Liens, claims,
              encumbrances, and interests, which motion shall be filed within 30 days after the
              Effective Date unless such period is extended by written agreement of the Plan
              Trustee and Lender;

              8.     upon obtaining entry of an order by the Bankruptcy Court approving of a
              Sale of the Assets, to execute and deliver all documents, and take all actions,
              necessary to consummate the Plan, liquidate and sell the Assets, and wind-down
              the Debtor’s business, including, without limitation, to effectuate the dissolution
              of the Debtor, with such sale to close within 6 months after the Effective Date
              unless such period is extended by written agreement of the Plan Trustee and
              Lender;

              9.     to take action to wind down and terminate the corporate existence of the
              Debtor, if the Trustee determines so doing is advisable; and

              10.     to take any and all other actions necessary, advisable, or appropriate, in
              the reasonable discretion of the Trustee, to implement, enforce, or effectuate the
              Plan, without further order of the Bankruptcy Court.

      C.     Limited Liability Company Actions, Effectuating Documents, Further
Transactions

       The Plan Trustee shall be authorized to execute, deliver, file, or record such contracts,
instruments, releases, consents, certificates, resolutions, programs, and other agreements,


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instruments, and/or documents, and take such acts and actions as may be reasonably necessary or
appropriate to effectuate, implement, consummate, and/or further evidence the terms and
conditions of this Plan and any transactions described in or contemplated by this Plan, including,
without limitation, the sale of the Acquired Assets to Lender or its designee on account of the
Credit Bid and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of this Plan.

       D.      Authority to Act
        On and after the Confirmation Date, all matters expressly provided for under this Plan
that would otherwise require approval of the Plan Trustee, members, managers, or other owners,
direct or indirect, of Debtor shall be deemed to have occurred and shall be in effect prior to, on,
or after the Effective Date (as applicable) pursuant to applicable law, without any further vote,
consent, approval, authorization, or other action by such Plan Trustee, members, managers,
general partners, limited partners, or other owners of the Debtor or notice to, order of, or hearing
before, the Bankruptcy Court.

       E.      Distributions under the Plan
       The first Distribution shall occur on or as soon as practicable after the Effective Date. To
the extent subsequent Distributions are necessary, such subsequent Distributions shall occur as
soon after the first Distribution Date as the Plan Trustee shall determine, subject to Court
approval after notice and hearing.

       F.      Filing of Monthly and Quarterly Reports and Payment of U.S. Trustee Fees
        The filing of the final monthly operating report (for the month in which the Effective
Date occurs) and all subsequent quarterly reports shall be the responsibility of the Plan Trustee.
All U.S. Trustee Fees shall be paid as set forth in the Plan and such obligation shall continue
until such time as the Debtor’s case is closed, dismissed, or converted.

       G.      Winding Down of Affairs.
        Following the Effective Date, the Debtor shall not engage in any business or take any
actions, except those necessary to consummate the Plan and wind down its affairs, except,
however, the Plan Trustee may pursue any Assets or retained causes of action.

       H.      Closing the Case
        After all Disputed Claims filed against the Debtor have become Allowed Claims or have
been Disallowed, all Causes of Action have been prosecuted or settled, and all Assets have been
liquidated and converted into Cash (other than those Assets that have been or may be
abandoned), and such Cash has been distributed in accordance with the Plan, or at such earlier
time as the Plan Trustee deems appropriate, the Plan Trustee shall seek authority from the
Bankruptcy Court to close the Chapter 11 Case in accordance with the Bankruptcy Code and the
Bankruptcy Rules.

                             ARTICLE VI
    EFFECT OF THE PLAN ON CLAIMS INTERESTS AND CAUSES OF ACTION


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       A.      Binding Effect

       Except as otherwise provided in section 1141(d) of the Bankruptcy Code, on and after the
Confirmation Date, the provisions of the Plan shall bind any holder of a Claim against the Debtor
who held such Claim at any time during the Chapter 11 Case and its successors and assigns,
whether or not the Claim of such holder is Impaired under the Plan and whether or not such
holder has accepted (or has been deemed to accept) the Plan.

       B.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan, all injunctions or stays provided for in the Chapter
11 Case pursuant to sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence
on the Confirmation Date, shall remain in full force and effect until the Chapter 11 Case is
closed.

       C.      Preservation of Causes of Action

        On the Effective Date, all Causes of Action, rights of setoff and other legal and equitable
defenses of the Debtor and Estate shall be transferred to and vested in the Plan Trustee, for the
benefit of holders of all Allowed Claims, as set forth in the Plan unless expressly released,
waived, or relinquished under the Plan, the Confirmation Order or other order of the Bankruptcy
Court. No Person may rely on the absence of a specific reference in the Plan or the Disclosure
Statement to any Cause of Action against them as an indication that the Plan Trustee will not
pursue a Cause of Action against them.

       D.      Post-Confirmation Activity

        At any time after the Effective Date, the Plan Trustee may conclude the winding down of
the Debtor’s affairs without supervision of the Bankruptcy Court, other than those restrictions
expressly imposed by the Plan, the Sale Order, or Confirmation Order. Without limiting the
foregoing, the Plan Trustee may pay any charges it incurs for taxes, disbursements, expenses, or
related support services, in connection with his duties, after the Confirmation Date without
application to and approval of the Bankruptcy Court.

                                      ARTICLE VII
                                 VOTING REQUIREMENTS

       The Disclosure Statement Order, the Confirmation Hearing Notice, and the instructions
attached to your Ballot should be read in connection with this section of this Disclosure
Statement as they set forth in detail, among other things, procedures governing voting deadlines
and objection deadlines.

A.     Voting Deadline

       This Disclosure Statement and the appropriate Ballot(s) are being distributed to all
Holders of Claims that are entitled to vote on the Plan. To facilitate vote tabulation, there is a


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separate Ballot designated for each impaired voting Class; however, all Ballots are substantially
similar in form and substance, and the term “Ballot” is used without intended reference to the
Ballot of any specific Class of Claims.

     IN ACCORDANCE WITH THE DISCLOSURE STATEMENT ORDER, TO BE
CONSIDERED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN, ALL
BALLOTS MUST BE RECEIVED BY THE BALLOT TABULATION AGENT NO LATER
THAN 5:00 P.M. (EASTERN TIME) ON THE VOTING DEADLINE OF [●]. ONLY THOSE
BALLOTS ACTUALLY RECEIVED BY THE BALLOT TABULATION AGENT BEFORE
THE VOTING DEADLINE WILL BE COUNTED AS EITHER ACCEPTING OR
REJECTING THE PLAN. NO BALLOTS MAY BE SUBMITTED BY FACSIMILE OR
ELECTRONIC MAIL, AND ANY BALLOTS SUBMITTED BY FACSIMILE OR
ELECTRONIC MAIL WILL BE NEITHER ACCEPTED NOR COUNTED BY THE
SOLICITATION AND TABULATION AGENT. BALLOTS SHOULD NOT BE SENT TO
THE DEBTOR.

B.     Holders of Claims or Interests Entitled to Vote

        Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to be
“impaired” under a plan unless (1) the plan leaves unaltered the legal, equitable and contractual
rights to which such claim or interest entitles the holder thereof; or (2) notwithstanding any legal
right to an accelerated payment of such claim or interest, the plan (a) cures all existing defaults
(other than defaults resulting from the occurrence of events of bankruptcy), (b) reinstates the
maturity of such claim or interest as it existed before the default, (c) compensates the holder of
such claim or interest for any damages resulting from such holder’s reasonable reliance on such
legal right to an accelerated payment and (d) does not otherwise alter the legal, equitable or
contractual rights to which such claim or interest entitles the holder of such claim or interest.

        In general, a holder of a claim or interest may vote to accept or reject a plan (except if
such claim or interest is held by an insider of the Debtor) if (1) the claim or interest is “allowed,”
which means generally that it is not disputed, contingent or unliquidated, and (2) the claim or
interest is impaired by a plan. However, if the holder of an impaired claim or interest will not
receive any distribution under the plan on account of such claim or interest, the Bankruptcy Code
deems such holder to have rejected the plan and provides that the holder of such claim or interest
is not entitled to vote on the plan. If the claim or interest is not impaired, the Bankruptcy Code
conclusively presumes that the holder of such claim or interest has accepted the plan and
provides that the holder is not entitled to vote on the plan.

       Except as otherwise provided in the Plan, the Holder of a Claim against one or more
Debtor that is “impaired” under the Plan is entitled to vote to accept or reject the Plan if (1) the
Plan provides a distribution in respect of such Claim; and (2) the Claim has been scheduled by
the appropriate Debtor (and is not scheduled as disputed, contingent, or unliquidated), the holder
of such Claim has timely filed a proof of claim or a proof of claim was deemed timely filed by an
order of the Bankruptcy Court prior to the Voting Deadline.

     AS SET FORTH IN THE CONFIRMATION HEARING NOTICE AND IN THE
DISCLOSURE STATEMENT ORDER, OTHER HOLDERS OF CLAIMS MUST FILE


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MOTIONS TO HAVE THEIR CLAIMS TEMPORARILY ALLOWED FOR VOTING
PURPOSES NO LATER THAN 4:00 P.M. PREVAILING EASTERN TIME ON [●].

        A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
accordance with the provisions of the Bankruptcy Code.

C.     Vote Required for Acceptance by a Class

        A Class of Claims shall have accepted the Plan if it is accepted by at least two-thirds
(2/3) in amount and more than one-half (1/2) in number of the Allowed Claims in such Class that
have voted on the Plan in accordance with the Disclosure Statement Order.

D.     Voting Procedures

       1.      Ballots

        All votes to accept or reject the Plan with respect to any Class of Claims must be cast by
properly submitting the duly completed and executed form of Ballot designated for such Class.
Holders of impaired Claims voting on the Plan should complete and sign the Ballot in
accordance with the instructions thereon, being sure to check the appropriate box indicating
either acceptance or rejection of the Plan. In accordance with Bankruptcy Rule 3018(c), the
Ballots to be used are Official Form No. 14.

     ANY BALLOT RECEIVED THAT DOES NOT INDICATE EITHER AN
ACCEPTANCE OR REJECTION OF THE PLAN OR THAT INDICATES BOTH
ACCEPTANCE AND REJECTION OF THE PLAN WILL NOT BE COUNTED FOR
PURPOSES OF DETERMINING ACCEPTANCE OR REJECTION OF THE PLAN.

     ANY BALLOT RECEIVED THAT IS NOT SIGNED WILL BE AN INVALID
BALLOT AND WILL NOT BE COUNTED FOR PURPOSES OF DETERMINING
ACCEPTANCE OR REJECTION OF THE PLAN.

         Ballots must be delivered to the Ballot Tabulation Agent at the address set forth herein so
that it is received before the Voting Deadline. In all cases, sufficient time should be allowed to
ensure timely delivery.

       2.      Withdrawal or Change of Votes on the Plan

        A Ballot may be withdrawn by delivering a written notice of withdrawal to the Ballot
Tabulation Agent, so that the Ballot Tabulation Agent receives the notice before the Voting
Deadline. In order to be valid, a notice of withdrawal must (a) specify the name of the creditor
who submitted the Ballot to be withdrawn, (b) contain a description of the Claim(s) to which it
relates and (c) be signed by the creditor in the same manner as on the Ballot.

       If a creditor casts more than one Ballot voting the same Claim before the Voting
Deadline, the last properly executed Ballot received by the Ballot Tabulation Agent before the
Voting Deadline (as determined by the Ballot Tabulation Agent) will be deemed to reflect that


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creditor’s intent either to accept or reject the Plan.

        3.      Voting Multiple Claims

        Separate forms of Ballots are provided for voting the various Classes of Claims. A
SEPARATE BALLOT MUST BE USED FOR EACH CLAIM. Any Person who holds Claims
in more than one voting Class or holds multiple Claims within the same voting Class is required
to vote separately with respect to each Claim. Please sign, and return in accordance with the
instructions in this section, a separate Ballot with respect to each such Claim. In the event that a
Ballot or a group of Ballots within a Class received from a single creditor partially rejects and
partially accepts the Plan, such Ballots will NOT be accepted or counted. That is, any Person
who holds multiple Claims in a single Class is required to vote all of his or her Claims within
that Class either to accept or reject the Plan. Ballots partially accepting and partially rejecting
the Plan may be objected to by Lender as Ballots not cast in good faith.

                                           ARTICLE VIII

                               CONFIRMATION PROCEDURES

A.      Confirmation Hearing

        The Confirmation Hearing will commence on [●], 2025, at [●] prevailing Eastern time.

        The Plan Objection Deadline is [●], 2025, at [●] prevailing Eastern time.

       All Plan Objections must be filed with the Bankruptcy Court and served on the Lender
and certain other parties in accordance with the Disclosure Statement Order on or before the Plan
Objection Deadline.

     THE BANKRUPTCY COURT MAY NOT CONSIDER PLAN OBJECTIONS UNLESS
THEY ARE TIMELY–SERVED AND FILED IN COMPLIANCE WITH THE DISCLOSURE
STATEMENT ORDER.




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Plan Objections must be filed with the Clerk of the Bankruptcy Court and served on:

Matthew G. Summers                                          Gary C. Fischoff
Ballard Spahr LLP                                           Berger, Fischoff, Shumer, Wexler &
919 N. Market Street, 11th Floor                            Goodman, LLP
Wilmington, Delaware 19801                                  6901 Jericho Turnpike, Suite 230
                                                            Syosset, New York 11791
Office of the United States Trustee
Attn. Jeremy Sussman
One Bowling Green, Room 510
New York, New York 10004

B.     Statutory Requirements for Confirmation of the Plan

        Section 1129(a)(7) of the Bankruptcy Code requires that each Holder of an Impaired
Claim either accept the Plan or receive or retain under the Plan property of a value, as of the
Effective Date, that is not less than the value such Holder would receive if the Debtor were
liquidated under chapter 7 of the Bankruptcy Code. This requirement is often referred to as the
“best interests” test.

         In chapter 7 cases, unsecured creditors and interests holders of a debtor are paid from
available assets generally in the following order, with no junior class receiving any payments
until all amounts due to senior classes have been fully or any such payment is provided for: (a)
holders of secured claims (to the extent of the value of their collateral); (b) holders of priority
claims; (c) holders of unsecured claims; (d) holders of debt expressly subordinated by its terms
or by order of the bankruptcy court; and (e) holders of interests.

        The Plan Proponent believes that the value of any Distributions if the Bankruptcy Case
was converted to a case under chapter 7 of the Bankruptcy Code would be less than the value of
Distributions under the Plan because, among other reasons, none of the Cash would be available
for Distribution to Creditors because it is subject to the Lender’s first priority Liens and, further,
Distributions in a chapter 7 case would be subject to payment of commissions to the trustee and
delayed, thereby reducing the present value of such Distributions. The proceeds received in a
chapter 7 liquidation would likely be further depleted by the fees and expenses of a chapter 7
trustee and the trustee’s professional advisors, as well as by the accrual of claims throughout the
chapter 7 period that must be paid on a priority basis.

                                           ARTICLE IX

         CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

       Because the tax consequences to each Holder of a Claim against or Interest in the Debtor
may vary depending upon such Holder of a Claim’s or Interest’s particular circumstances, all
Holders of Claims against or Interests in the Debtor and other persons affected by the Plan
should consult their own tax advisor for a complete analysis of the tax consequences resulting
from the confirmation of this Plan.




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                                          ARTICLE X

  PLAN-RELATED RISK FACTORS AND ALTERNATIVES TO CONFIRMATION AND
                     CONSUMMATION OF THE PLAN

       A.      Certain Bankruptcy Law Considerations

       1.      Parties-in-Interest May Object to Plan Proponent’s Classification of Claims
               and Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim in a
particular class only if such claim is substantially similar to the other claims in such class. The
Lender believes that the classification of Claims and Interests under the Plan complies with the
requirements set forth in the Bankruptcy Code. The Lender four classes of Claims and one class
of Interests, each encompassing Claims or Interests, as applicable, that are substantially similar
to the other Claims and Interests in each such Class. Nevertheless, there can be no assurance the
Bankruptcy Court will reach the same conclusion.

       2.      Failure to Satisfy Vote Requirement

        If votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan, the Lender intends to seek, as promptly as practicable thereafter, Confirmation
of the Plan. In the event that sufficient votes are not received, the Lender may seek relief from
the automatic stay or conversion or dismissal of the Debtor’s bankruptcy case.

       3.      The Lender May Not Be Able to Secure Confirmation of the Plan

        Section 1129 of the Bankruptcy Code sets forth the requirements for Confirmation of a
chapter 11 plan, which include a finding by a bankruptcy court that: (a) such plan “does not
unfairly discriminate” and is “fair and equitable” with respect to any non-accepting classes; (b)
Confirmation of such plan is not likely to be followed by a liquidation or a need for further
financial reorganization unless such liquidation or reorganization is contemplated by the plan;
and (c) the value of distributions to non-accepting holders of claims within a particular class
under such plan will not be less than the value of distributions such holders would receive if the
debtor were liquidated under chapter 7 of the Bankruptcy Code.

        There can be no assurance the requisite acceptances to confirm the Plan will be received.
Even if the requisite acceptances are received, there can be no assurance that the Bankruptcy
Court will confirm the Plan. A non-accepting Holder of an Allowed Claim might challenge
either the adequacy of this Disclosure Statement or whether the balloting procedures and voting
results satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if the
Bankruptcy Court determines that this Disclosure Statement, the balloting procedures and voting
results are appropriate, the Bankruptcy Court could still decline to confirm the Plan if it found
that any of the statutory requirements for Confirmation had not been met, including the
requirement that the terms of the Plan do not “unfairly discriminate” and are “fair and equitable”
to non-accepting Classes.




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       Confirmation of the Plan is also subject to certain conditions as described in the Plan. If
the Plan is not confirmed, it is unclear what Distributions, if any, Holders of Allowed Claims
would receive with respect to Allowed Claims.

        The Lender, subject to the terms and conditions of the Plan, reserves the right to modify
the terms and conditions of the Plan as necessary for Confirmation. Any such modifications
could result in a less favorable treatment of any non-accepting Class, as well as of any Classes
junior to such non-accepting Class, than the treatment currently provided in the Plan. Such less
favorable treatment could include a distribution of property to the Class affected by the
modification of a lesser value than currently provided in the Plan, or no distribution of property
whatsoever under the Plan.

       4.      Nonconsensual Confirmation of the Plan May Be Necessary

        Pursuant to section 1129(b) of the Bankruptcy Code, in the event that any impaired class
of claims does not accept a chapter 11 plan, a bankruptcy court may nevertheless confirm such
plan at the proponent’s request if at least one impaired class has accepted the plan (with such
acceptance being determined without taking into account the vote of any “insider” in such class),
and, as to each impaired class that has not accepted the plan, the bankruptcy court determines
that the plan “does not discriminate unfairly” and is “fair and equitable” with respect to the
dissenting impaired classes. The Lender believes that the Plan satisfies these requirements and
the Lender may request such nonconsensual Confirmation in accordance with subsection 1129(b)
of the Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will
reach this conclusion.

       5.      The Debtor or Plan Trustee May Object to the Amount or Classification of a
               Claim

        Except as otherwise provided in the Plan, the Plan Trustee is granted the right to object to
the amount or classification of any Claim under the Plan. The estimates set forth in this
Disclosure Statement cannot be relied upon by any Holder of a Claim where such Claim is
subject to an objection. Any Holder of a Claim that is subject to an objection may not receive its
expected share of the estimated Distributions described in this Disclosure Statement

       6.      Risk of Non-Occurrence of the Effective Date

        Although the believes that the Effective Date will occur promptly after the Confirmation
Date, there can be no assurance as to such timing, or as to whether the Effective Date will, in
fact, occur.

       7.      Contingencies Not to Affect Votes of Impaired Classes to Accept or Reject
               the Plan

       The Distributions available to Holders of Allowed Claims under the Plan can be affected
by a variety of contingencies, including, whether the Bankruptcy Court orders certain Allowed
Claims to be subordinated to other Allowed Claims. The occurrence of any and all such
contingencies, which could affect Distributions available to Holders of Allowed Claims under
the Plan, shall not affect the validity of the vote taken by the Impaired Classes to accept or reject


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the Plan, or require any sort of revote by the Impaired Classes.

       If the Plan is not Confirmed or consummated, the alternatives include, in addition to the
dismissal of the Bankruptcy Case, (a) liquidation under chapter 7 of the Bankruptcy Code, (b)
dismissal of the Bankruptcy Case, or (c) preparation and presentation of an alternative chapter 11
plan.

       8.      Risk Factors That May Affect Distributions Under the Plan

        A number of unknown factors make certainty in creditor recoveries impossible. Among
other things, the Chapter 11 Trustee cannot know with any certainty, at this time, the number or
amount of Claims that will ultimately be Allowed, and the Chapter 11 Trustee cannot know with
any certainty, at this time, the amount that will ultimately be recovered on account of the
Litigation Claims.

       9.      Liquidation Under Chapter 7/Best Interest of Creditors

         If the Plan is not Confirmed, the Chapter 11 Case may be converted to a case under
chapter 7 of the Bankruptcy Code. The Lender believes that any such conversion would likely
reduce any Distribution to Holders of Claims based on, among other things, the (i) increased
costs of a chapter 7 case arising from the commissions payable to a chapter 7 trustee and fees
payable to professional advisors to such trustee; and (ii) substantially longer period of time that
would elapse until distributions could be made under chapter 7. In addition, the Lender will seek
relief from the automatic stay and pursue its state law remedies, including foreclosing on the
Property, in the event the Plan is not confirmed and the case is converted to chapter 7.
Distributions are possible under the Plan only because the Lender is, through the Plan,
consenting to the use of Cash Collateral to fund such Distributions on the terms and conditions
stated in the Plan. Cash Collateral would not be available to fund such Distributions in the event
of conversion or dismissal of the Chapter 11 Case.




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November 27, 2024.                          Respectfully submitted,


                                            /s/ Laurel D. Roglen
                                            Matthew G. Summers*
                                            Laurel D. Roglen
                                            Ballard Spahr LLP
                                            919 N. Market Street, 11th Floor
                                            Wilmington, Delaware 19801
                                            Tel: (302) 252-4428
                                            Email: summersm@ballardspahr.com
                                            (*Admitted pro hac vice)

                                            Wells Fargo Bank, National Association, as
                                            Trustee for the benefit of the registered
                                            holders of Benchmark 2020-B17 Mortgage
                                            Trust, Commercial Mortgage Pass-Through
                                            Certificates, Series 2020-B17




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                       EXHIBIT A
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x
In re                                                         :   Chapter 11
                                                              :
24 JAY STREET, LLC,                                           :   Case No. 23-44083 (ESS)
                                                              :
                                             Debtor.          :
                                                              :
------------------------------------------------------------x

                     LENDER’S CHAPTER 11 PLAN OF LIQUIDATION
                              FOR 25 JAY STREET, LLC

       Wells Fargo Bank, National Association, as Trustee for the benefit of the registered holders
of Benchmark 2020-B17 Mortgage Trust, Commercial Mortgage Pass-Through Certificates,
Series 2020-B17 (together with its successors and assigns, the “Lender”), by and through its
undersigned counsel, hereby files this Lender’s Chapter 11 Plan of Liquidation for 25 Jay Street,
LLC.

                                    ARTICLE I.
                      INRODUCTION & RULES OF INTERPRETATION

        1.1    The Debtor commenced its Chapter 11 Case by the filing of a voluntary petition for
relief under chapter 11 of the Bankruptcy Code on November 7, 2023. Pursuant to sections 1107
and 1108 of the Bankruptcy Code, the Debtor is authorized to operate its business as a debtor in
possession. A committee of unsecured creditors has not been appointed in the Chapter 11 Case.

        1.2      The Debtor’s sole business is to own and operate a five-story mixed-use property
consisting of approximately 35 residential units and 5 retail units located at 25 Jay Street,
Brooklyn, New York 11201. All of the Debtor’s Assets (including the Property and the Debtor’s
Cash) are encumbered by a first priority mortgage held by Lender. The Chapter 11 Case is a single
asset real estate case within the meaning of section 101(51B) of the Bankruptcy Code.

        1.3     Through this Plan, the Lender proposes the appointment of a Plan Trustee to (a)
conduct a process to sell the Property to either the Lender, if any credit bid submitted by the Lender
is the highest offer for the Property, or to a third party if a third party submits the highest and best
offer for the Property, (b) investigate and pursue potential causes of action against the Debtor’s
insiders and affiliates, and (c) distribute funds to creditors, in accordance with the order of priority
of their Claims.

        1.4    Unless otherwise specified, all section, article, and exhibit references in the Plan
are to the respective section in, article of, or exhibit to, the Plan, as the same may be amended,
waived, or modified from time to time. Words denoting the singular number shall include the
plural number and vice versa, as appropriate, and words denoting one gender shall include the
other gender. The Disclosure Statement may be referred to for purposes of interpretation to the
extent any term or provision of the Plan is determined by the Bankruptcy Court to be ambiguous.


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       1.5     Words and terms defined in section 101 of the Bankruptcy Code shall have the
same meanings when used in the Plan, unless a different definition is given in the Plan. The rules
of construction contained in section 102 of the Bankruptcy Code shall apply to the construction of
the Plan.

        1.6     The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import
refer to the Plan as a whole and not to any particular section, subsection, or clause contained in the
Plan.

                                           ARTICLE II
                                          DEFINITIONS

       The following terms, when used in this Plan, the Disclosure Statement (except as otherwise
provided therein) or any subsequent amendments or modifications thereof, and in addition to those
terms defined in the text of the Plan, shall have the respective meanings hereinafter set forth.

        2.1    “Administrative Claim” means any Claim under sections 503(b) and 507(a)(2) of
the Bankruptcy Code, including, without limitation: (a) the actual, necessary costs and expenses
incurred by the Debtor after the Petition Date of preserving the Estate or operating the Debtor’s
business; (b) Allowed Claims pursuant to section 503(b)(9) of the Bankruptcy Code; and (c) any
Allowed Claims that are entitled to be treated as Administrative Claims pursuant to a Final Order
of the Bankruptcy Court.

        2.2     “Administrative Claims Bar Date” means the date that is thirty (30) days after
notice of the occurrence of the Effective Date is filed with the Bankruptcy Court or such later date
as may be established by order of the Bankruptcy Court. The notice of the occurrence of the
Effective Date shall be sufficient notice of the Administrative Claims Bar Date.

         2.3    “Allowed” with respect to a Claim, means the extent to which a Claim: (a) is not
disallowed or expunged by stipulation or Final Order of the Bankruptcy Court; (b) is not objected
to within the period fixed by the Plan or established by the Bankruptcy Court, if the Claim (i) was
scheduled by a Debtor pursuant to the Bankruptcy Code and the Bankruptcy Rules in a liquidated
amount and not listed as contingent, unliquidated, or disputed, or (ii) was timely filed (or deemed
timely filed) pursuant to the Bankruptcy Code, the Bankruptcy Rules, or any applicable orders of
the Bankruptcy Court; (c) for which an objection has been filed, but such objection has been
withdrawn or determined by a Final Order (but only to the extent such Claim has been allowed);
or (d) is otherwise allowed by Final Order, including, without limitation, the Confirmation Order,
after notice and a hearing. A proof of Claim that is not timely filed (or not deemed timely filed)
shall not be “Allowed” for purposes of distribution or voting under the Plan.




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        2.4     “Allowed Secured Claim of Lender” shall mean the Allowed Claim of Lender
against the Debtor, which is secured by a first-Priority Lien on all Assets of the Debtor, which
shall be calculated by adding all postpetition interest, attorneys’ fees, late fees, tax, insurance, and
other protective advances, and other fees and costs chargeable under the Loan Documents. As of
the Petition Date, the amount of Lender’s Secured Claim was $26,451,886.44.

       2.5     “Assets” means all assets of the Debtor of any nature whatsoever, including,
without limitation, all property of the Estate pursuant to section 541 of the Bankruptcy Code, Cash,
Causes of Action, accounts receivable, tax refunds, claims of right, interests and property, real and
personal, tangible and intangible, and proceeds of all of the foregoing.

        2.6    “Avoidance Actions” shall mean all claims and causes of action that the Trustee,
Debtor, or the Debtor’s estate have pursuant sections 510, 544, 545, 547, 548, 549, 550, 551, and
553 of the Bankruptcy Code.

       2.7     “Bankruptcy Code” means title 11 of the United States Code, as amended, in effect
and applicable to the Chapter 11 Case concerning the Debtor.

        2.8    “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern
District of New York or such other court having jurisdiction over the Chapter 11 Case.

       2.9    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
promulgated by the Supreme Court of the United States, as amended, in effect and applicable to
the Chapter 11 Case.

        2.10 “Bar Date” means April 15, 2024, or, for claims of governmental units, May 6,
2024, the dates fixed by the Bankruptcy Court by Order entered February 23, 2024 [Dkt. No. 50]
and subject to the terms and conditions stated therein, unless the Bankruptcy Court has set a
different date by which a specific Creditor must file a proof of Claim, in which case it means, for
the specific Creditor, such different date set by the Bankruptcy Court in the order approving such
Bar Date or otherwise.

        2.11 “Bidding Procedures” means the procedures for conducting the sale of the Property
and related Assets to be developed by the Plan Trustee and subject to Bankruptcy Court approval
after notice, a hearing, and an opportunity for Creditors and other parties in interest to object.

       2.12 “Broker” means a licensed real estate broker selected by the Plan Trustee and
employed with approval by the Bankruptcy Court after notice, a hearing, and an opportunity for
Creditors and other parties in interest to object.

        2.13 “Carve-Out” means Cash Collateral remaining in an amount not to exceed
[$15,000.00] after payment of all Administrative Claims, Professional Fee Claims, compensation
to the Broker, compensation to the Plan Trustee, the Debtor’s portion of any unpaid real property
taxes as of the date of closing and other customary closing costs, and Priority Tax Claims.

       2.14    “Cash” means cash and cash equivalents in U.S. dollars.


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       2.15 “Cash Collateral” shall mean the cash collateral of Lender, as defined by §363(a)
of the Bankruptcy Code, including, without limitation, all rents and revenue generated by the
Property, the Tenant Leases, and proceeds thereof.

        2.16 “Causes of Action” means any and all claims, rights, actions, choses in action, suits,
causes of action, Liens, judgments and damages belonging to the Debtor or its Estate and any and
all liabilities, obligations, covenants, undertakings and debts owing to the Estate, including,
without limitation, Avoidance Actions, whether arising prior to, or after, the Petition Date and in
each case whether known or unknown, in law, equity or otherwise. Without limiting the foregoing,
Causes of Action shall include all rights, actions, suits, and causes of action (including Avoidance
Actions) that exist against JT Capital Investors LLC, JES Management, Alfie Hospitality, Joseph
Torres, Joseph Torres, Jr., and Kip Jacobs.

       2.17 “Chapter 11 Case” means the case commenced by the Debtor on November 10,
2023, under Chapter 11 of the Bankruptcy Code, administered under case number 23-44083.

        2.18 “Claim” means: (a) right to payment, whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured, or unsecured; or (b) right to an equitable remedy for breach of
performance if such breach gives rise to a right to payment, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured, or unsecured.

       2.19    “Class” means a category of Claims or Interests described in Article III hereof.

        2.20 “Collateral” means all property and interests in property of the Debtor or the Estate
securing the Allowed Secured Claim of Lender. Without limiting the foregoing, all of the Assets
constitute Collateral.

       2.21 “Confirmation” means the Bankruptcy Court's confirmation of the Plan in
accordance with section 1129 of the Bankruptcy Code.

        2.22 “Confirmation Date” means the date on which the clerk of the Bankruptcy Court
enters the Confirmation Order on the docket corresponding to the Chapter 11 Case.

       2.23 “Confirmation Hearing” means the hearing held by the Bankruptcy Court, as it may
be continued from time to time, to consider Confirmation.

        2.24 “Confirmation Order” means the order of the Bankruptcy Court confirming this
Plan, or any amendment thereto, pursuant to section 1129 of the Bankruptcy Code, and approving
of the Sale of the Property, and any findings of fact and conclusions of law contained in the
Confirmation Order or a separate document entered substantially contemporaneously therewith.

        2.25 “Creditor” means any Person who: (a) holds a Claim against the Debtor that arose
prior to the Petition Date; (b) holds a Claim against the Debtor, which arose after the Petition Date,


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other than an Administrative Claim of the type specified in Bankruptcy Code section 503(b); or
(c) holds a Claim against the Debtor of the kind specified in Bankruptcy Code sections 502(g),
502(h) or 502(i).

        2.26 “Disallowed” means, when referring to a Claim or Interest, a Claim (including a
claim listed by the Debtor in its Schedules) or Interest, or any portion of a Claim or Interest, which
has been disallowed or expunged by a Final Order.

       2.27 “Disclosure Statement” means the disclosure statement (as such may be modified,
amended, revised, or supplemented), and all exhibits, annexed thereto, filed by the Lender in
connection with the Chapter 11 Case pursuant to section 1125 of the Bankruptcy Code, and
approved by an order of the Bankruptcy Court as containing adequate information as that term is
defined in section 1125(a)(1) of the Bankruptcy Code.

        2.28 “Disputed Claim” means a Claim that is not an Allowed Claim nor a disallowed
Claim, and is any Claim, proof of which was filed, or an Administrative Claim or other unclassified
Claim, which is the subject of a dispute under the Plan or as to which Claim the Trustee, has
interposed a timely objection and/or a request for estimation in accordance with section 502(c) of
the Bankruptcy Code and Bankruptcy Rule 3018 or other applicable law, which dispute, objection,
and/or request for estimation has not been withdrawn or determined by a Final Order, and any
Claim, proof of which was required to be filed by order of the Bankruptcy Court, but as to which
a proof of claim was not timely or properly filed (or deemed timely or properly filed).

        2.29 “Distribution” means any distribution made pursuant to the terms of this Plan or
other order of court.

        2.30 “Distribution Address” means the address set forth in the applicable proof of claim,
as such address may have been updated pursuant to Bankruptcy Rule 2002(g). If no proof of claim
is or has been filed with respect to a particular Claim, “Distribution Address” means the address
set forth in the Debtor’s Schedules, as such address may have been updated pursuant to Bankruptcy
Rule 2002(g).

        2.31 “Distribution Date” means any date on which a Distribution is made to holders of
Allowed Claims under this Plan, or as otherwise agreed. The first Distribution shall occur on or as
soon as practicable after the Effective Date or as otherwise ordered by the Court. To the extent
subsequent Distributions are necessary, such subsequent Distributions shall occur as soon after the
first Distribution Date as the Trustee shall determine, subject to Court approval after notice and
hearing.

       2.32    “Effective Date” means the date on which closing on a sale of the Property occurs.

         2.33 “Encumbrances” means, collectively, any and all security interests, Liens, pledges,
Claims, levies, charges, escrows, encumbrances, options, rights of first refusal, transfer
restrictions, conditional sale contracts, title retention contracts, mortgages, hypothecations,
indentures, security agreements or other agreements, arrangements, contracts, commitments,
understandings or obligations of any kind whatsoever, whether written or oral.


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      2.34 “Estate” means the Debtor’s estate created pursuant to section 541 of the
Bankruptcy Code upon the Petition Date.

        2.35 “Excluded Assets” means the (a) Causes of Action other than those arising under a
Lease; (b) all corporate records of the Debtor, including minute books and organizational
documents; (c) the right to receive tax refunds for the period arising before the Effective Date; and
(d) such other Assets as may be agreed between the Debtor and the Lender.

        2.36 “Exculpated Parties” collectively means the Lender, its Professionals, and its
agents, including the servicer and special servicer for the Lender’s loan to the Debtor, and each of
their respective officers and directors.

         2.37 “Fee Claim Deadline” means the deadline for all Professionals or other Persons to
file an application for final allowance of compensation and reimbursement of Professional Fee
Claims for services rendered before the Effective Date, which deadline shall be the date which is
thirty (30) days after the Effective Date.

        2.38 “Fee Application” means the final fee application and/or an application for payment
of reasonable fees and expenses filed under section 503(b) of the Bankruptcy Code by any parties
seeking payment of Professional Fee Claims and/or reimbursement of expenses, as applicable,
which shall be filed in accordance with Section 4.2(c)(ii) hereof.

        2.39 “Final Order” means an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction as to which the time to appeal, petition for certiorari, or move for
reargument or rehearing has expired and as to which no appeal, petition for certiorari or other
proceedings for reargument or rehearing shall then be pending; provided, however, if an appeal,
or writ of certiorari, reargument or rehearing thereof has been filed or sought, such order of the
Bankruptcy Court or other court of competent jurisdiction shall have been affirmed by the highest
court to which such order was appealed, or certiorari shall have been denied or reargument or
rehearing shall have been denied or resulted in no modification of such order, and the time to take
any further appeal, petition for certiorari or move for reargument or rehearing shall have expired;
provided, further, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with respect
to such order shall not cause such order not to be a Final Order.

       2.40 “General Unsecured Claim” means a Claim that is not an Administrative Claim, a
Professional Fee Claim, a Priority Tax Claim or a Secured Claim.

      2.41 “Impaired” means any Class of Claims or Interests that is impaired within the
meaning of section 1124 of the Bankruptcy Code.

        2.42 “Interest” means the general partnership or limited partnership rights and interests
as of the Petition Date of any Person in the Debtor.

       2.43    “Lender” means Wells Fargo Bank, National Association, as Trustee for the benefit


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of the registered holders of Benchmark 2020-B17 Mortgage Trust, Commercial Mortgage
Pass-Through Certificates, Series 2020-B17 and its successors and assigns.

        2.44 “Lien” means any charge against, security interest in, encumbrance upon, or other
interest in or against property of the Debtor to secure payment of a debt or performance of an
obligation by the Debtor.

        2.45 “Other Secured Creditors” means Creditors other than the Lender that assert claims
secured or partially secured by a Lien against the Property lower in priority to the Lender’s first
priority Lien and security interests against the Property.

        2.46 “Person” means any individual, corporation, partnership, association, joint venture,
limited liability company, limited liability partnership, estate, trust, unincorporated organization
or governmental unit or subdivision thereof or other entity.

        2.47 “Petition Date” means November 7, 2023, the date the Debtor filed its voluntary
petition for relief under chapter 11 of the Bankruptcy Code.

        2.48 “Plan” means this plan of liquidation and any exhibits annexed hereto and any
documents delivered in connection herewith, as the same may be amended or modified from time
to time by any duly authorized amendment or modification.

        2.49 “Plan Supplement” means any documents, agreements, schedules, and exhibits,
specified in this Plan, including, without limitation, the proposed Plan Trustee, to be filed with the
Bankruptcy Court no later than seven (7) days prior to the Voting Deadline, provided that the
Debtor may amend such Plan Supplement at any time prior to the Confirmation Hearing.

        2.50 “Priority Tax Claim” means a Claim or a portion of a Claim, which is entitled to
priority under section 507(a)(8) of the Bankruptcy Code.

        2.51 “Property” means the improved commercial real property located at 25 Jay Street,
Brooklyn, New York, as well as all related personal property, rights, leases, Tenant Leases, and
licenses related to the operation of the Property.

        2.52 “Pro Rata” means, at any time, the proportion that an Allowed Claim bears to the
aggregate amount of all Claims in a particular Class at such time, including Disputed Claims at
such time (a) as calculated by the Liquidation Trustee on or before any Distribution Date; or (b)
as determined or estimated by the Bankruptcy Court.

       2.53 “Professionals” means an entity (a) employed pursuant to a Bankruptcy Court order
in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for
services rendered before or on the Effective Date, pursuant to sections 327, 328, 329, 330, 331,
and 363 of the Bankruptcy Code or (b) awarded compensation and reimbursement of expenses by
the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

       2.54    “Professional Fee Claims” means any Claim of (a) a Professional, retained in the


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Chapter 11 Case, pursuant to sections 327 or 328 of the Bankruptcy Code, for compensation or
reimbursement of costs and expenses relating to services incurred in such capacity after the
Petition Date, but prior to and including the Effective Date, when and to the extent any such Claim
is Allowed by the Bankruptcy Court pursuant to sections 329, 330, 331, 503(b), or 1103 of the
Bankruptcy Code, or (b) a Person seeking compensation and reimbursement pursuant to section
503(b)(4) of the Bankruptcy Code.

       2.55    “Representative” means any person who is authorized to act on behalf of another.

       2.56    “Sale” means the sale of the Assets to be effectuated pursuant to this Plan.

       2.57    “SBA” means the United States Small Business Administration.

       2.58 “SBA Claim” means the claim asserted by the SBA in the amount of $1,752,733.11,
which claim the SBA asserts is secured by a second Lien (junior to the Lender’s Lien) against the
Debtor’s tangible personal property (other than Cash).

      2.59 “Schedules” means the Schedules of Assets and Liabilities filed by the Debtor and
any amendments thereto.

        2.60 “Secured Claim” means a Claim secured by a Lien on any Asset of the Debtor, or
right of setoff, which Lien or right of setoff, as the case may be, is valid, perfected, and enforceable
under applicable law and is not subject to avoidance under the Bankruptcy Code or applicable
nonbankruptcy law, but only to the extent of the value, pursuant to section 506(a) of the
Bankruptcy Code, of any interest of the holder of the Claim in property of the Estate securing such
Claim.

        2.61 “Tenant Leases” means shall mean the existing leases pursuant to which tenants
lease part of the Property owned by the Debtor.

       2.62    “U.S. Trustee” means the United States Trustee for Region 2.

        2.63 “U.S. Trustee Fees” means all fees and charges assessed against the Estate by the
U.S. Trustee and due pursuant to section 1930 of title 28 of the United States Code, together with
interest, if any, pursuant to section 3717 of title 31 of the United States Code.

       2.64    “Unclassified Claims” means Administrative Claims and Priority Tax Claims.




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                                  ARTICLE III
                    CLASSIFICATION OF CLAIMS AND INTERESTS

       3.1     Administrative Expense Claims

        Administrative Claims shall be paid in full, in Cash, on the Effective Date or within five
(5) business days after allowance of such Administrative Claim, whichever is later, or upon such
other terms as may be agreed upon by the holder of the applicable Administrative Claim and the
Debtor. Administrative Claims include, without limitation, all Allowed Claims (a) the actual and
necessary postpetition costs and expenses incurred by the Debtor in preserving the Estate or
operating its business, (b) Allowed Claims pursuant to section 503(b)(9) of the Bankruptcy Code,
(c) U.S. Trustee Fees, and (d) any allowed Claims that are entitled to be treated as Administrative
Claims pursuant to a final order of the Bankruptcy Court. Administrative Claims shall be paid
from Cash Collateral. Any unpaid real property taxes assessed against the Property as of the
Effective Date shall be apportioned between the Debtor and Lender as of the Effective Date of the
Plan, and the Debtor’s portion shall be paid from Cash Collateral at closing on the transfer to the
Lender.

               a.     Administrative & Professional Fee Claims Bar Date

                Except as provided below for Professionals requesting compensation or
reimbursement for Professional Fee Claims, requests for payment of Administrative Claims must
be filed no later than thirty days after notice of the Effective Date. Holders of Administrative
Claims who are required to file a request for payment of such Claims and who do not file such
requests by the Administrative Claims Bar Date, shall be forever barred from asserting such Claims
against the Debtor or its property, and the holder thereof shall be enjoined from commencing or
continuing any action, employment of process, or act to collect, offset, or recover such
Administrative Claim.

                All Professionals or other Persons requesting compensation or reimbursement of
Professional Fee Claims for services rendered before the Effective Date (including compensation
requested by any Professional or other entity for making a substantial contribution in the Chapter
11 Case) shall file an application for final allowance of compensation and reimbursement of
expenses no later than the Fee Claim Deadline. Objections to applications of Professionals or
other entities for compensation or reimbursement of expenses must be filed no later than twenty-
one (21) days after any such application is filed.

               b.     U.S. Trustee Fees
                The Debtor shall pay all applicable U.S. Trustee Fees, in accordance with the terms
of the Plan, until such time as the Bankruptcy Court enters an order (a) dismissing the Chapter 11
Case, (b) converting the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, or (c)
approving a final decree closing the Chapter 11 Case.




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       3.2     Priority Tax Claims

       Each Priority Tax Claims, if any, shall be paid in full, in Cash, upon the Effective Date or
allowance of such Claim, whichever is later.

       3.3     Class 1 - Allowed Secured Claim of Lender

       Class 1 consists of the Allowed Secured Claim of Lender. The Lender’s holds an Allowed
Claim in the amount of the Allowed Secured Claim of Lender which is secured by a first priority
Liens and security interests in the Collateral, which includes, without limitation, the Tenant Leases,
the Property, and all of the Debtor’s Cash.

        The Lender or its designee shall be entitled to credit bid in connection with the sale to be
conducted by the Plan Trustee in accordance with section 363(k) of the Bankruptcy Code up to the
Allowed Amount of the Allowed Secured Claim of Lender. If the Lender’s credit bid is the highest
offer for the Property, the Trustee shall Transfer the Property to the Lender free and clear of all
Liens, Claims, Encumbrances, and Interests, in exchange for the credit bid and, in addition to the
transfer of the Property, within 90 days after the Effective Date, the Plan Trustee shall also
distribute to the Lender any Cash remaining after payment of the Debtor’s portion of any unpaid
real property taxes against the Property as of the closing on the transfer of the Property to the
Lender, Allowed Administrative Claims, Allowed Professional Claims, Allowed Priority Tax-
Claims, and the Carve-Out, and the Lender shall have an Allowed Class 4 Unsecured Claim in the
amount of the difference between (i) the Allowed Amount of the Allowed Secured Claim of Lender
and (ii) the amount of the Lender’s credit bid and the amount of the Cash Collateral distributed to
the Lender by the Trustee, which deficiency Claim shall be treated as an Allowed Class 4 General
Unsecured Claim and survive entry of the Confirmation Order and the occurrence of the Effective
Date.

        If the Lender’s credit bid is not the highest offer for the Property, the Trustee shall Transfer
the Property to the third-party purchaser free and clear of all Liens, Claims, Encumbrances, and
Interests, in exchange for the cash payment and, within 90 days after the Effective Date, the Plan
Trustee shall also distribute to the Lender any Cash remaining after payment of the Debtor’s
portion of any unpaid real property taxes against the Property as of the closing on the transfer of
the Property to the Lender, Allowed Administrative Claims, Allowed Professional Claims,
Allowed Priority Tax-Claims, and the Carve-Out, and the Lender shall have an Allowed Class 4
Unsecured Claim in the amount of the difference between (i) the Allowed Amount of the Allowed
Secured Claim of Lender and (ii) the amount of Cash the Lender receives from the transfer of the
Property to a third-party purchaser and the amount of the Cash Collateral distributed to the Lender
by the Trustee, which deficiency Claim shall be treated as an Allowed Class 4 General Unsecured
Claim and survive entry of the Confirmation Order and the occurrence of the Effective Date.

        The Lender’s first-priority Liens against the Property, Cash Collateral, Tenant Leases, all
of the Debtor’s personal property, rent paid under Tenant Leases, all other Collateral, and the
proceeds thereof shall survive entry of the Confirmation Order and shall remain attached as first-
priority Liens to the Property, the Cash, Tenant Leases, rent paid under Tenant Leases, all other
Collateral, and all replacements and proceeds thereof and, without limiting the foregoing, shall


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attach to the proceeds of any sale of the Property to a third-party purchaser.

         Nothing contained in this Plan shall reduce, modify, discharge, enjoin, limit, or impair the
liability or obligations of any third-parties to the Lender in connection with the Loan (including,
without limitation, the liability or obligations of any guarantors of the Loan).

       Class 1 is Impaired, and the Lender is entitled to vote to accept or reject the Plan.

        3.4    Class 2 – SBA Claim
       Class 2 consists of the SBA Claim in the amount of approximately $1,752,733.11.
        If the Lender’s credit bid is not the highest and best offer for the Property and proceeds
from the Sale remain after payment of the Allowed Secured Claim of Lender in full, the SBA shall
receive the value of its second lien on the Debtor’s tangible personal property from the proceeds
of the Sale remaining after payment of the Allowed Secured Claim of Lender in full. If the
Property is sold to the Lender as a result of a credit bid or there are no Sale Proceeds remaining
after payment of the Allowed Secured Claim of Lender, the SBA Claim will be treated as a Class
4 General Unsecured Claim.
       Class 2 is Impaired, and the SBA is entitled to vote to accept or reject the Plan.
       3.5     Class 3 – Other Secured Claims
        Other Secured Claims consist of any Claim (other than the SBA Claim and the Allowed
Secured Claim of Lender) secured by a lien on any Asset of the Debtor, or right of setoff, which
Lien or right of setoff, as the case may be, is valid, perfected and enforceable under applicable law
and is not subject to avoidance under the Bankruptcy Code or applicable nonbankruptcy law, but
only to the extent of the value, pursuant to section 506(a) of the Bankruptcy Code, of any interest
of the holder of the Claim in property of the Estate securing such Claim.

        Holders of Allowed Class 3 Other Secured Claims, if any, shall receive a Pro Rata share
of the Carve-Out, on the later of the Effective Date or the date on which such General Unsecured
Claim becomes an Allowed Claim.

       Holders of Allowed Claims in Class 3 are Impaired under the Plan. Each holder of a Class
2 Other Allowed Secured Claim is entitled to vote to accept or reject the Plan in its capacity as a
holder of such Claim.

       3.5     Class 4 - General Unsecured Claims.
         Class 4 consists of the General Unsecured Claims against the Debtor. Holders of Claims
in Class 4 are Impaired. Each holder of General Unsecured Claim is entitled to vote to accept or
reject the Plan in its capacity as a holder of such Claim.
        Holders of Allowed Class 4 General Unsecured Claims, other than the Lender, shall receive
a Pro Rata share of the Carve-Out remaining after payment of Class 3 Claims in full, on the later
of the Effective Date or the date on which such General Unsecured Claim becomes an Allowed

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Claim. In addition, Holders of Allowed Class 4 General Unsecured Claims, including the Lender,
shall receive a Pro Rata share of any recoveries made on account of any Causes of Action.

       3.6     Class 5 – Interests
        Class 5 consists of all Interests in the Debtor. Class 5 Interests are Impaired. The holders
of Class 5 Interests will receive no Distribution. On the Effective Date, all Class 5 Interests will
be canceled, null and void and of no force and effect. The holders of Class 5 Interests are deemed
to reject the Plan and are not entitled to vote to accept or reject the Plan.

       3.7     Reservation of Rights Regarding Claims
       Except as otherwise explicitly provided in the Plan, nothing shall affect, as applicable, the
Debtor’s rights, objections, defenses, and counterclaims, both legal and equitable, with respect to
any Claims, including, but not limited to, all rights of setoff or recoupment.

                                     ARTICLE IV
                             IMPLEMENTATION OF THE PLAN

       4.1     Funding of the Plan
       The Plan shall be funded from the Sale Proceeds, Cash Collateral, the Carve-Out, and any
recoveries made on account of Causes of Action. The Property and all related Assets shall be sold
under the Plan.

       4.2     Powers and Obligations of the Plan Trustee
        On the Confirmation Date, the person or entity proposed by the Lender to serve in such
capacity through the Plan Supplement (the “Plan Trustee”) shall be appointed as the Plan Trustee
to implement and effectuate the Plan. The Plan Trustee shall be responsible for implementing the
Plan, establish bidding procedures for a sale of the Assets (subject to Bankruptcy Court approval),
effectuating the sale of the Property (subject to further Bankruptcy Court approval of such sale),
resolving all Claims other than the Allowed Claim of Lender, commencing and prosecuting Causes
of Action, and making distributions pursuant to the Plan. The Plan Trustee shall retain all rights
with respect to the Assets necessary to implement the Plan and protect, conserve, and liquidate all
Assets, including, without limitation, control over (including the right to waive) all attorney-client
privileges, work-product privileges, accountant-client privileges, and any other evidentiary
privileges relating to the Assets that, before the Effective Date, belonged to the Debtor under
applicable law. The Plan Trustee shall be compensated at its standard hourly rates, as such may
be adjusted from time to time, subject to the cap imposed by the Bankruptcy Code and the approval
of the Bankruptcy Court. The Plan Trustee shall serve without bond, but subject to supervision
and control of the Bankruptcy Court. The Plan Trustee shall be deemed the Debtor’s estate
Representative in accordance with section 1123 of the Bankruptcy Code, and shall have all the
powers, authority and responsibilities of a trustee specified in sections 704 and 1106 of the
Bankruptcy Code, subject to the terms, requirements, and mandates of the Plan. Without limiting
the foregoing, the powers and duties of the Plan Trustee shall include all of the following:

               1.      to make Distributions in accordance with the provisions of the Plan;

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               2.     to engage attorneys, accountants, consultants, agents, brokers, and other
                      professionals to assist the Trustee with respect to the Trustee’s
                      responsibilities under the Plan, subject to the approval of the Bankruptcy
                      Court;

               3.     to pay the fees and expenses for the attorneys, consultants, agents, and other
                      professionals engaged by the Trustee, and to pay all other expenses in
                      connection with administering the Plan, subject to the approval of the
                      Bankruptcy Court;

               4.     to object to Claims, seek to subordinate Claims, and, subject to Bankruptcy
                      Court approval of any proposed settlement after notice and a hearing,
                      compromise or settle any objections to Claims;

               5.     to commence litigation and otherwise prosecute Causes of Action and any
                      appeals therefrom and, subject to Bankruptcy Court approval of any
                      proposed settlement after notice and a hearing, compromise or settle any
                      Causes of Action;

               6.     to establish and maintain such bank accounts as the Plan Trustee may deem
                      advisable on behalf of the Debtor;

               7.     to file a motion with the Bankruptcy Court seeking to establish bid
                      procedures and to sell the Assets free and clear of all Liens, claims,
                      encumbrances, and interests;

               8.     upon obtaining entry of an order by the Bankruptcy Court approving of a
                      Sale of the Assets, to execute and deliver all documents, and take all actions,
                      necessary to consummate the Plan, liquidate and sell the Assets, and wind-
                      down the Debtor’s business, including, without limitation, to effectuate the
                      dissolution of the Debtor;

               9.     to take action to wind down and terminate the corporate existence of the
                      Debtor, if the Trustee determines so doing is advisable; and

               10.    to take any and all other actions necessary, advisable, or appropriate, in the
                      reasonable discretion of the Trustee, to implement, enforce, or effectuate
                      the Plan, without further order of the Bankruptcy Court.

4.3    Limited Liability Company Actions, Effectuating Documents, Further Transactions


       The Plan Trustee shall be authorized to execute, deliver, file, or record such contracts,
instruments, releases, consents, certificates, resolutions, programs, and other agreements,
instruments, and/or documents, and take such acts and actions as may be reasonably necessary or
appropriate to effectuate, implement, consummate, and/or further evidence the terms and
conditions of this Plan and any transactions described in or contemplated by this Plan, including,


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without limitation, the sale of the Property, and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of this Plan.

       4.4     Authority to Act
        On and after the Confirmation Date, all matters expressly provided for under this Plan that
would otherwise require approval of the Plan Trustee, members, managers, or other owners, direct
or indirect, of Debtor shall be deemed to have occurred and shall be in effect prior to, on, or after
the Effective Date (as applicable) pursuant to applicable law, without any further vote, consent,
approval, authorization, or other action by such Plan Trustee, members, managers, general
partners, limited partners, or other owners of the Debtor or notice to, order of, or hearing before,
the Bankruptcy Court.

       4.5     Distributions under the Plan
        The first Distribution shall occur on or as soon as practicable after the Effective Date. To
the extent subsequent Distributions are necessary, such subsequent Distributions shall occur as
soon after the first Distribution Date as the Plan Trustee shall determine, subject to Court approval
after notice and hearing.

       4.6     Filing of Monthly and Quarterly Reports and Payment of U.S. Trustee Fees
        The filing of the final monthly operating report (for the month in which the Effective Date
occurs) and all subsequent quarterly reports shall be the responsibility of the Plan Trustee. All
U.S. Trustee Fees shall be paid as set forth in the Plan and such obligation shall continue until such
time as the Debtor’s case is closed, dismissed, or converted.

       4.7     Winding Down of Affairs.
        Following the Effective Date, the Debtor shall not engage in any business or take any
actions, except those necessary to consummate the Plan and wind down its affairs, except,
however, the Plan Trustee may pursue any Assets or retained causes of action.

       4.8     Closing the Case
        After all Disputed Claims filed against the Debtor have become Allowed Claims or have
been Disallowed, all Causes of Action have been prosecuted or settled, and all Assets have been
liquidated and converted into Cash (other than those Assets that have been or may be abandoned),
and such Cash has been distributed in accordance with the Plan, or at such earlier time as the Plan
Trustee deems appropriate, the Trustee shall seek authority from the Bankruptcy Court to close
the Chapter 11 Case in accordance with the Bankruptcy Code and the Bankruptcy Rules.

                             ARTICLE V
    EFFECT OF THE PLAN ON CLAIMS INTERESTS AND CAUSES OF ACTION

       5.1     Binding Effect
       Except as otherwise provided in section 1141(d) of the Bankruptcy Code, on and after the

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Confirmation Date, the provisions of the Plan shall bind any holder of a Claim against the Debtor
who held such Claim at any time during the Chapter 11 Case and its successors and assigns,
whether or not the Claim of such holder is Impaired under the Plan and whether or not such holder
has accepted (or has been deemed to accept) the Plan.

       5.2     Term of Injunctions or Stays

       Unless otherwise provided in the Plan, all injunctions or stays provided for in the Chapter
11 Case pursuant to sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence
on the Confirmation Date, shall remain in full force and effect until the Chapter 11 Case is closed.

       5.3     Preservation of Causes of Action

        On the Effective Date, all Causes of Action, rights of setoff and other legal and equitable
defenses of the Debtor and Estate shall be transferred to and vested in the Trustee, for the benefit
of holders of all Allowed Claims, as set forth in the Plan unless expressly released, waived, or
relinquished under the Plan, the Confirmation Order or other order of the Bankruptcy Court. No
Person may rely on the absence of a specific reference in the Plan or the Disclosure Statement to
any Cause of Action against them as an indication that the Trustee will not pursue a Cause of
Action against them.

       5.4     Post-Confirmation Activity

       At any time after the Effective Date, the Plan Trustee may conclude the winding down of
the Debtor’s affairs without supervision of the Bankruptcy Court, other than those restrictions
expressly imposed by the Plan or Confirmation Order. Without limiting the foregoing, the Plan
Trustee may pay any charges it incurs for taxes, disbursements, expenses, or related support
services, in connection with his duties, after the Confirmation Date without application to and
approval of the Bankruptcy Court.

                                      ARTICLE VI
                                 EXECUTORY CONTRACTS

       6.1     Executory Contracts and Unexpired Leases.

       On the Effective Date, the Tenant Leases other than the lease to Kip Jacobs shall be deemed
assumed with a cure of $0 in accordance with the provisions of sections 365 and 1123 of the
Bankruptcy Code. All executory contracts and unexpired leases other than those Tenant Leases
assumed under this Plan and not previously assumed, assumed and assigned, or rejected as of the
Confirmation Date, but subject to the occurrence of the Effective Date, shall be deemed rejected
pursuant to the provisions of section 365 of the Bankruptcy Code. For clarity, the lease to Kip
Jacobs shall be rejected as of the Effective Date. The Plan shall constitute a motion to assume the
Tenant Leases (other than the lease to Kip Jacobs) with a cure of $0.

       6.2     Rejection Damages Bar Date.


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         If rejection by the Debtor, pursuant to the Plan, of an executory contract or unexpired lease,
results in a Claim, then such Claim shall be forever barred and shall not be enforceable against the
Debtor, its Estate, or the Plan Trustee unless a proof of claim is filed with the Clerk of the
Bankruptcy Court and served upon the Debtor and the Trustee not later than thirty (30) days after
the date of service of notice of entry of the Confirmation Order, or such other period set by the
Bankruptcy Court. Any Claim arising from the rejection of an executory contract or unexpired
lease shall be treated as a Class 4 General Unsecured Claim.

       6.3     Effect of Post-Confirmation Rejection

        The entry by the Bankruptcy Court on or after the Confirmation Date of an order
authorizing the rejection of an executory contract or unexpired lease of the Debtor entered into
prior to the Petition Date shall result in such rejection being a prepetition breach under sections
365(g) and 502(g) of the Bankruptcy Code.

                                          ARTICLE VII
                                         EXCULPATION

        No Exculpated Party shall have any liability to the Debtor or any holder of a Claim for any
act or omission arising on or after the Petition Date through the Effective Date in connection with,
related to, or arising out of the Chapter 11 Case, the Plan, the Disclosure Statement, pursuit of
approval of the Disclosure Statement, solicitation of votes in favor of the Plan, pursuit of
confirmation of the Plan, or the property distributed or otherwise deal with under the Plan except
for any act or omission found by a Final Order to constitute a crime, actual fraud, willful
misconduct, or gross negligence.

                                        ARTICLE VIII
                                      OTHER PROVISIONS

       8.1     Realty Transfer Tax
        Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer, or exchange
of any securities, instruments, or documents, (b) the creation of any Lien, mortgage, deed of trust,
or other security interest, (c) the making or assignment of any lease or sublease or the making or
delivery of any deed or other instrument of transfer under, pursuant to, in furtherance of, or in
connection with the Plan, including, without limitation, any deeds, bills of sale, or assignments
executed in connection with any of the transactions contemplated under the Plan or the transfer or
sale of any real or personal property of the Estate or the Debtor pursuant to, in implementation of,
or as contemplated in the Plan, and (d) the issuance, renewal, modification, or securing of
indebtedness by such means, and the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including, without
limitation, the Confirmation Order, shall not be subject to any document recording tax, stamp tax,
conveyance fee, or other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
or other similar tax or governmental assessment. Consistent with the foregoing, and in accordance
with the Plan, each recorder of deeds or similar official for any county, city, or governmental unit
in which any instrument hereunder is to be recorded shall, pursuant to the Confirmation Order, be

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ordered and directed to accept such instrument, including, without limitation any deed or other
instrument transferring the Property and any other Assets in accordance with the terms of the Plan,
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax,
transfer tax, intangible tax, or similar tax.

         8.2   Retention of Jurisdiction

        The Plan shall not in any way limit the Bankruptcy Court’s post-confirmation jurisdiction
as provided under the Bankruptcy Code. Notwithstanding confirmation of the Plan or occurrence
of the Effective Date, pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the
Bankruptcy Court shall retain exclusive jurisdiction and authority for all purposes to the fullest
extent permitted under applicable law, including, without limitation, the following purposes:

       (a)     To determine any motion, adversary proceeding, Avoidance Action, application,
contested matter, or other litigated matter pending on or commenced after the Confirmation Date,
including without limitation, any application seeking to employ a broker to market and sell the
Property, a motion to approve bidding procedures, and a motion to approve the sale of the Property
in accordance with the Plan;

       (b)     To hear and determine applications for the assumption or rejection of executory
contracts or unexpired leases and the allowance of Claims resulting therefrom;

       (c)    To ensure that Distributions to holders of Allowed Claims are accomplished as
provided herein;

        (d)     To hear and determine objections to the allowance of Claims (other than objections
to the Allowed Secured Claim of Lender, which are waived and released under the Plan), whether
filed, asserted, or made before or after the Effective Date, including, without limitation, to hear
and determine objections to the classification of Claims and the allowance or disallowance of
Disputed Claims, in whole or in part;

       (e)     To hear and determine all applications for allowance of compensation and
reimbursement by professionals under the Plan or under sections 328, 330, 331, 503(b), 1103, and
1129(a)(4) of the Bankruptcy Court;

         (f)   To hear and determine all motions requesting allowance of an Administrative
Claim;

        (g)     To determine requests for the payment of Claims entitled to priority under section
507(a)(2) of the Bankruptcy Code, including compensation and reimbursement of expenses of
parties entitled thereto;

        (h)     To hear and determine objections to Claims, all Causes of Action, Avoidance
Actions, and other suit and adversary proceedings to recover assets of the Debtor and property of
the Estate, wherever located, and to adjudicate any other Causes of Action, Avoidance Actions,
suits, adversary proceedings, motions, applications and contested matters that may be commenced


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or maintained pursuant to the Chapter 11 Case or the Plan, proceedings to adjudicate the allowance
of Disputed Claims, proceedings to subordinate Claims, and all controversies and issues arising
from or relating to any of the foregoing;

       (i)    to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

        (j)   To take any action and issue such orders as may be necessary to construe, enforce,
implement, execute, modify and consummate the Plan, including any release, exculpation or
injunction provisions set forth herein, or to maintain the integrity of the Plan following
consummation;

       (k)     To hear any other matter not inconsistent with the Bankruptcy Code;

       (l)     To enter the Final Decree closing the Chapter 11 Case;

       (m)     To enforce all orders previously entered by the Bankruptcy Court;

        (n)     to enter and implement such orders as may be appropriate if the Confirmation Order
is for any reason stayed, revoked, modified and/or vacated; and

       (o)     to issue orders in aid of execution, implementation or consummation of the Plan.

       8.3      Effective Date
        If the Effective Date has not occurred by June 30, 2025, then upon motion by any party in
interest and upon notice to such parties in interest as the Bankruptcy Court may direct, the
Confirmation Order may be vacated by the Bankruptcy Court; provided, however, that
notwithstanding the Filing of such motion, the Confirmation Order shall not be vacated if each of
the conditions to the Effective Date is either satisfied or duly waived before any Order granting
such relief becomes a Final Order. If the Confirmation Order is vacated pursuant to this Section,
this Plan shall be deemed null and void in all respects and nothing contained herein shall constitute
a waiver or release of any Claims by or against the Debtor.

       8.4     Governing Law

        Except to the extent the Bankruptcy Code, Bankruptcy Rules, or other federal laws apply,
the rights and obligations arising under the Plan shall be governed by the laws of the State of New
York.




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       8.5     Effectuating Documents, Further Transactions
       The Trustee shall be authorized to execute, deliver, file, or record such contracts,
instruments, releases, and other agreements or documents, and take such actions as may be
necessary or appropriate to effectuate and further evidence the terms and conditions of the Plan.

       8.6      Successors and Assigns
        The rights, benefits, and obligations of any Person named or referred to in the Plan shall
be binding upon, and shall inure to the benefit of, the heir, executor, administrator, successor, or
assign of such Person.



November 27, 2024.                                   Respectfully submitted,


                                                      /s/ Laurel D. Roglen
                                                     Matthew G. Summers*
                                                     Laurel D. Roglen
                                                     Ballard Spahr LLP
                                                     919 N. Market Street, 11th Floor
                                                     Wilmington, Delaware 19801
                                                     Tel: (302) 252-4428
                                                     Email: summersm@ballardspahr.com
                                                             roglenl@ballardspahr.com
                                                     (*Admitted pro hac vice)

                                                     Attorneys for Wells Fargo Bank, National
                                                     Association, as Trustee for the benefit of the
                                                     registered holders of Benchmark 2020-B17
                                                     Mortgage Trust, Commercial Mortgage
                                                     Pass-Through Certificates, Series 2020-B17




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